                                               Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 1 of 63




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                                      13                             UNITED STATES DISTRICT COURT
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                                      14                                     DISTRICT OF NEVADA

                                      15 BRIAN BORENSTEIN, an individual,                      Case No.: 2:19-cv-00985-APG-DJA

                                      16                                 Plaintiff,
                                      17 vs.                                                      FIRST AMENDED COMPLAINT

                                      18 THE ANIMAL FOUNDATION, a domestic                                JURY DEMAND
                                           nonprofit corporation; COUNTY OF CLARK, ex
                                      19 rel. CLARK COUNTY ANIMAL CONTROL, a
                                           political subdivision of the State of Nevada;
                                      20 SUNRISE HOSPITAL AND MEDICAL
                                         CENTER, LLC, a foreign limited-liability
                                      21 company domiciled in Delaware; CARLY
                                      22 SCHOLTEN,      an individual; VICTOR ZAVALA,
                                         an individual; ULRIKE PASTERNAK, an
                                      23 individual; and ROE BUSINESS ENTITIES 1-5;
                                           and DOE INDIVIDUALS 1-5,
                                      24
                                                                         Defendants.
                                      25
                                      26          COMES NOW Plaintiff BRIAN BORENSTEIN, by and through his counsel, Raelene K.

                                      27 Palmer, Esq. of THE PALMER LAW FIRM, P.C., and Robert S. Melcic, Esq., and hereby complains,
                                      28 alleges, and avers against Defendants THE ANIMAL FOUNDATION, a domestic nonprofit


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 2 of 63




                                       1 corporation; COUNTY OF CLARK, ex. rel. CLARK COUNTY ANIMAL CONTROL, a political
                                       2 subdivision of the state of Nevada; SUNRISE HOSPITAL AND MEDICAL CENTER, LLC, a foreign
                                       3 limited-liability company domiciled in Delaware; CARLY SCHOLTEN, an individual; VICTOR
                                       4 ZAVALA, an individual; ULRIKE PASTERNAK, an individual; and ROE BUSINESS ENTITIES 1-5;
                                       5 and DOE INDIVIDUALS 1-5 (collectively “Defendants”) as follows:
                                       6                                                    I.
                                       7                                     STATEMENT OF THE CASE
                                       8          This is a civil rights and disability discrimination case arising under the United States
                                       9 Constitution, the Americans with Disabilities Act, and Nevada law, as well as a property and personal
                                      10 injury case for state law claims, including those of negligence, intentional infliction of emotional
                                      11 distress, interference with the use of a service animal, and conversion. On or about May 12, 2019,
                                      12 BRIAN BORENSTEIN (hereinafter, “BORENSTEIN”), accompanied by his service dog, Mana, drove
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                                      13 himself to SUNRISE HOSPITAL AND MEDICAL CENTER, LLC (hereinafter, “SUNRISE
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                                      14 HOSPITAL”) in Las Vegas, Nevada, after experiencing symptoms consistent with a heart attack. He
                                      15 parked his rental car near the emergency room entrance and went inside with Mana. When Mana
                                      16 became anxious, BORENSTEIN took Mana back to his air-conditioned vehicle and returned inside the
                                      17 hospital, where BORENSTEIN learned that he would be admitted to SUNRISE HOSPITAL’s intensive
                                      18 care unit. BORENSTEIN informed SUNRISE HOSPITAL staff that his service dog was in his car and
                                      19 that he did not have family or friends who could care for the dog, who would need boarding while
                                      20 BORENSTEIN was hospitalized.
                                      21          In response, SUNRISE HOSPITAL staff called CLARK COUNTY ANIMAL CONTROL
                                      22 (hereinafter, “CCAC”) and advised the dispatch clerk that BORENSTEIN had been admitted to the
                                      23 hospital and that SUNRISE HOSPITAL security was standing by the emergency room entrance so that
                                      24 CCAC could take possession of Mana. A CCAC officer arrived at the hospital and met with a
                                      25 SUNRISE HOSPITAL security officer and Registered Nurse ULRIKE PASTERNAK (hereinafter,
                                      26 “NURSE PASTERNAK”), who were standing nearby BORENSTEIN’s car, where Mana was secured.
                                      27 The security officer and NURSE PASTERNAK advised the CCAC officer that BORENSTEIN was
                                      28 then sedated and that Mana was identified to them as a service dog.


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 3 of 63




                                       1          The CCAC officer obtained permission from CCAC Lieutenant VICTOR ZAVALA
                                       2 (hereinafter, “LT. ZAVALA”) to remove Mana from the vehicle and place only a ten-day hold on him,
                                       3 and NURSE PASTERNAK, operating on behalf of patient BORENSTEIN, signed the impound card
                                       4 releasing Mana to CCAC under those conditions. The CCAC officer left a copy of the impound card
                                       5 with NURSE PASTERNAK to give to BORENSTEIN and then took Mana to The Animal Foundation
                                       6 (hereinafter, “TAF”), a non-profit entity receiving nearly five million dollars of public funding in 2020
                                       7 to provide shelter services for local governments in the greater Las Vegas Valley.
                                       8          BORENSTEIN was subsequently transferred from SUNRISE HOSPITAL to a hospital in
                                       9 California. On or about May 24, 2019, BORENSTEIN telephoned CCAC staff and advised them that
                                      10 he had a heart attack, and he gave them his room number at the hospital in California. He further
                                      11 requested to have the hold on Mana extended while BORENSTEIN was hospitalized and explained that
                                      12 he did not have access to a telephone to further then communicate. BORENSTEIN left similar voice
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                                      13 messages at TAF. LT. ZAVALA sent an email to TAF regarding BORENSTEIN’s request, and he
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                                      14 documented the foregoing details in CCAC records, dated May 28, 2019.
                                      15          TAF, which had begrudgingly cared for BORENSTEIN’s service animals in the past, through
                                      16 its officers, directors, managers, supervisors, agents, and/or employees, including its Chief Operating
                                      17 Officer CARLY SCHOLTEN (hereinafter, “COO SCHOLTEN”), purportedly called several Las Vegas
                                      18 hospitals in a pretextual effort to document its efforts at reaching BORENSTEIN, even though TAF
                                      19 knew BORENSTEIN was not in Las Vegas and that he did not have access to a telephone.
                                      20          On or about May 30, 2019, CCAC and/or TAF, through their officers, directors, managers,
                                      21 supervisors, agents, and/or employees, removed the hold placed on Mana and made him available for
                                      22 adoption on or about May 31, 2019. On the evening of June 1, 2019, Mana was adopted by ROE
                                      23 BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5. Thirteen minutes later, BORENSTEIN
                                      24 telephoned CCAC and left a voice message advising CCAC staff that he was still in the hospital and
                                      25 wanted to reclaim Mana.
                                      26          BORENSTEIN discharged from the hospital on or about June 1, 2019, after leaving the
                                      27 message at CCAC. On the morning of June 2, 2019, LT. ZAVALA spoke with BORENSTEIN and
                                      28 advised him that Mana had already been adopted from TAF. BORENSTEIN, who was overcome with


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 4 of 63




                                       1 grief, informed LT. ZAVALA that he was going to kill himself and hung up the telephone.
                                       2          BORENSTEIN drove to TAF and begged them to return Mana to him. COO SCHOLTEN told
                                       3 BORENSTEIN that Mana had already been adopted and stated that BORENSTEIN was “too sick to
                                       4 care for a dog.” BORENSTEIN presented TAF with a demand for Mana’s return, but COO
                                       5 SCHOLTEN told BORENSTEIN that TAF would euthanize Mana before allowing BORENSTEIN to
                                       6 have possession of him. BORENSTEIN was hospitalized later that day for suicidal ideations and other
                                       7 grief brought on by the exacerbation of his mental disabilities from the sudden loss of his service dog.
                                       8          Later that afternoon, BORENSTEIN faxed legal documents to CCAC including a previous
                                       9 court finding documenting Mana as BORENSTEIN’s service dog. LT. ZAVALA documented in
                                      10 CCAC records that he sent an email to TAF advising that he had received a call from BORENSTEIN
                                      11 requesting his dog to be held. LT. ZAVALA also documented that CCAC had received the court
                                      12 documents finding Mana was a service dog, but LT. ZAVALA saw that Mana had been adopted on
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                                      13 June 1, 2019 and was not sure what TAF could do for BORENSTEIN.
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                                      14          BORENSTEIN initiated this litigation on June 10, 2019. BORENSTEIN contacted elected
                                      15 public officials, community leaders, animal rights organizations, and others seeking assistance in
                                      16 having Mana returned to him. The president of the Humane Network contacted COO SCHOLTEN to
                                      17 help BORENSTEIN, but no follow-up came. BORENSTEIN sought injunctive relief on June 20, 2019.
                                      18 BORENSTEIN was hospitalized several times thereafter, and his doctor gave him a prescription for a
                                      19 service or emotional support animal to help him. When BORENSTEIN tried to adopt an animal from
                                      20 TAF, COO SCHOLTEN retaliated and refused to adopt to him. BORENSTEIN then tried to adopt
                                      21 from the Henderson Animal Shelter but was told that someone from TAF had entered an electronic note
                                      22 in the database that animal organizations in Clark County use with a warning not to allow
                                      23 BORENSTEIN to adopt an animal from them and to contact TAF for more information.
                                      24 BORENSTEIN later learned from LT. ZAVALA that the database warning had come from COO
                                      25 SCHOLTEN.
                                      26                                                     II.
                                      27                                      JURISDICTION AND VENUE
                                      28           1.    The federal claims of this Complaint are maintained pursuant to 28 U.S.C. § 1331


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                                              Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 5 of 63




                                       1 (“[t]he district courts shall have original jurisdiction of all civil actions arising under the Constitution,
                                       2 laws, or treaties of the United States”). In particular, this case asserts federal civil rights claims, arising
                                       3 under the Constitution of the United States, actionable pursuant to 42 U.S.C. § 1983; discrimination
                                       4 claims, actionable pursuant to 42 U.S.C. § 12101 et seq. (the Americans with Disabilities Act and the
                                       5 Americans with Disabilities Act Amendment Act (collectively, “ADA”)) and 29 U.S.C. § 794 (Section
                                       6 504 of the Rehabilitation Act of 1973, as amended (“Rehabilitation Act”)).                   This Court has
                                       7 supplemental jurisdiction over the state-law claims, pursuant to 28 U.S.C. § 1367(a) (“the district courts
                                       8 shall have supplemental jurisdiction over all other claims that are so related to claims in the action
                                       9 within such original jurisdiction that they form part of the same case or controversy under Article III of
                                      10 the United States Constitution”).
                                      11           2.     Venue is proper in the U.S. District Court situated in Las Vegas, Nevada, under Local
                                      12 Rule IA 1-6 and 28 U.S.C. § 1391(b)(2), because this Court is located in the “unofficial Southern
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                                      13 Division” embracing Clark County and because the parties conducted business and/or resided in Las
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                                      14 Vegas, Nevada, where a substantial part of the events or omissions giving rise to the claims of the case
                                      15 occurred.
                                      16                                                       III.
                                      17                                                   PARTIES
                                      18           3.     At all relevant times herein, Plaintiff, BRIAN BORENSTEIN (“BORENSTEIN”), was
                                      19 and is a citizen of the state of Nevada, residing in Las Vegas, Nevada, and he was a patient of
                                      20 Defendant SUNRISE HOSPITAL AND MEDICAL CENTER, LLC, which, through its officers,
                                      21 directors, managers, supervisors, agents, and/or employees, including Defendant ULRIKE
                                      22 PASTERNAK, entrusted Plaintiff BORENSTEIN’s service animal, Mana, to the custody of Defendant
                                      23 COUNTY OF CLARK, ex. rel. CLARK COUNTY ANIMAL CONTROL.
                                      24           4.     On information and belief, Defendant, THE ANIMAL FOUNDATION (“TAF”), is a
                                      25 domestic nonprofit corporation, authorized to do business in the state of Nevada and actually doing
                                      26 business as a corporation in the state of Nevada, operating, governing, managing, controlling, and/or
                                      27 overseeing The Lied Animal Shelter, which houses animals in Clark County, Nevada, including
                                      28 Plaintiff BORENSTEIN’s service animal, Mana, on behalf of several political subdivisions of the state


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                                              Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 6 of 63




                                       1 of Nevada, pursuant to contracts therewith, including a contract with Defendant, COUNTY OF
                                       2 CLARK, ex. rel. CLARK COUNTY ANIMAL CONTROL. At all times relevant hereto, Defendant
                                       3 TAF acquiesced in and ratified the decisions and actions made by its officers, directors, managers,
                                       4 supervisors, agents, and/or employees, including Defendant CARLY SCHOLTEN, and was bound by
                                       5 them.
                                       6           5.    On information and belief, Defendant, COUNTY OF CLARK, governs, manages,
                                       7 controls, operates, and/or oversees CLARK COUNTY ANIMAL CONTROL, a governmental agency
                                       8 situated in Clark County, Nevada. Pursuant to Nev. Rev. Stat. §41.0305, Defendant, COUNTY OF
                                       9 CLARK, ex. rel. CLARK COUNTY ANIMAL CONTROL (“CCAC”), is a political subdivision of the
                                      10 state of Nevada to which Defendant SUNRISE HOSPITAL, through its officers, directors, managers,
                                      11 supervisors, agents, employees, and/or government contractors, including Defendant ULRIKE
                                      12 PASTERNAK, entrusted Plaintiff BORENSTEIN’s service animal. At all times relevant hereto,
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                                      13 Defendant CCAC acquiesced in and ratified the decisions and actions made by its officers, directors,
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                                      14 managers, supervisors, agents, employees, and/or government contractors, including Defendants
                                      15 VICTOR ZAVALA and TAF, through its officers, directors, managers, supervisors, agents, and
                                      16 employees, including Defendant CARLY SCHOLTEN, and was bound by them.
                                      17           6.    On information and belief, Defendant SUNRISE HOSPITAL AND MEDICAL
                                      18 CENTER, LLC (“SUNRISE HOSPITAL”), is a foreign limited-liability company domiciled in
                                      19 Delaware, authorized to do business in the state of Nevada and actually doing business as a corporation
                                      20 in the state of Nevada, operating, governing, managing, controlling, and/or overseeing the hospital
                                      21 where Plaintiff BORENSTEIN was admitted as a patient, in Clark County, Nevada. At all times
                                      22 relevant hereto, Defendant SUNRISE HOSPITAL acquiesced in and ratified the decisions and actions
                                      23 made by its officers, directors, managers, supervisors, agents, and/or employees, including Defendant
                                      24 ULRIKE PASTERNAK, and was bound by them.
                                      25           7.    On information and belief, Defendant CARLY SCHOLTEN (“COO SCHOLTEN”), at
                                      26 all times relevant to this action, was a citizen of the state of Nevada, residing in the county of Clark,
                                      27 and she was employed as the chief operating officer of Defendant TAF, at its facility situated at 655
                                      28 North Mojave Road, Las Vegas, Nevada 89101. At all times relevant hereto, Defendant COO


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                                              Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 7 of 63




                                       1 SCHOLTEN was supervised by Defendants TAF and CCAC, which was responsible for overseeing its
                                       2 government contractors and their officers, directors, managers, supervisors, agents, and/or employees.
                                       3 Defendant COO SCHOLTEN is sued in her individual and official capacities.
                                       4           8.     On information and belief, Defendant VICTOR ZAVALA (“LT. ZAVALA”), at all
                                       5 times relevant to this action, was a citizen of the state of Nevada, residing in the county of Clark, and
                                       6 he was employed as a lieutenant officer by Defendant CCAC, at its facility situated at 2911 East Sunset
                                       7 Road, Las Vegas, Nevada 89120. At all times relevant hereto, Defendant LT. ZAVALA was
                                       8 supervised by Defendant CCAC. Defendant LT. ZAVALA is sued in his individual and official
                                       9 capacities.
                                      10           9.      On information belief, Defendant ULRIKE PASTERNAK (“NURSE PASTERNAK”),
                                      11 at all times relevant to this action, was a citizen of the state of Nevada, residing in the county of Clark,
                                      12 and she was employed as a registered nurse by Defendant SUNRISE HOSPITAL, at its facility situated
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                                      13 at 3186 South Maryland Parkway, Las Vegas, Nevada 89109. At all times relevant hereto, Defendant
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                                      14 NURSE PASTERNAK was supervised by Defendant SUNRISE HOSPITAL.
                                      15           10.    The true names and capacities of the Defendants sued herein as ROE BUSINESS
                                      16 ENTITIES 1-5, inclusive, are unknown to Plaintiff BORENSTEIN, who sues these Defendants by such
                                      17 fictitious names. ROE BUSINESS ENTITIES 1-5, inclusive, are parties in contemplation at the time of
                                      18 the filing of this First Amended Complaint. Plaintiff BORENSTEIN alleges, on information and belief,
                                      19 that each of the Defendants sued herein as ROE BUSINESS ENTITIES 1-5, inclusive, adopted Plaintiff
                                      20 BORENSTEIN’s service animal, Mana, from Defendant TAF, while Mana was entrusted to Defendant
                                      21 TAF’s temporary care and custody, or subsequently acquired possession of BORENSTEIN’s service
                                      22 animal, Mana. Upon information and belief, ROE BUSINESS ENTITIES 1-5, inclusive, have
                                      23 possession and control of Mana—property lawfully belonging to Plaintiff BORENSTEIN, over which
                                      24 the district court exercises in rem jurisdiction. Plaintiff BORENSTEIN will seek leave of Court to
                                      25 amend this First Amended Complaint to state the true names and capacities of ROE BUSINESS
                                      26 ENTITIES 1-5, inclusive, when they have been ascertained.
                                      27           11.    The true names and capacities of the Defendants sued herein as DOE INDIVIDUALS 1-
                                      28 5, inclusive, are unknown to Plaintiff BORENSTEIN, who sues these Defendants by such fictitious


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                                              Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 8 of 63




                                       1 names. DOE INDIVIDUALS 1-5, inclusive, are parties in contemplation at the time of the filing of
                                       2 this First Amended Complaint. Plaintiff BORENSTEIN alleges, on information and belief, that each of
                                       3 the Defendants sued herein as DOE INDIVIDUALS 1-5, inclusive, adopted Plaintiff BORENSTEIN’s
                                       4 service animal, Mana, from Defendant TAF, while Mana was entrusted to Defendant TAF’s temporary
                                       5 care and custody, or subsequently acquired possession of BORENSTEIN’s service animal, Mana.
                                       6 Upon information and belief, DOE INDIVIDUALS 1-5, inclusive, have possession and control of
                                       7 Mana—property lawfully belonging to Plaintiff BORENSTEIN, over which the district court exercises
                                       8 in rem jurisdiction. Plaintiff BORENSTEIN will seek leave of Court to amend this First Amended
                                       9 Complaint to state the true names and capacities of DOE INDIVIDUALS 1-5, inclusive, when they
                                      10 have been ascertained.
                                      11           12.   On information and belief, at all relevant times herein, each Defendant was the
                                      12 employer, officer, director, manager, supervisor, agent, and/or employee of the other, and some or all of
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                                      13 Defendants’ acts and omissions occurred during the course and scope of such employment and agency,
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                                      14 and such acts and omissions were taken at the instruction of, at the request of, at the behest of, and/or
                                      15 for the benefit of one or more of the other Defendants.
                                      16                                                     IV.
                                      17                      GENERAL ALLEGATIONS COMMON TO ALL CLAIMS
                                      18           13.   BORENSTEIN is a disabled individual within the meaning of the Americans with
                                      19 Disabilities Act (“ADA”) and the Americans with Disabilities Act Amendments Act (“ADAAA”)
                                      20 (collectively hereinafter, “ADA”), Nevada Revised Statute § 41.1395 (hereinafter, “Vulnerable Persons
                                      21 Statute”), and Nevada Revised Statutes § 233.020(3), § 426.068, and § 651.050(1) (collectively, Titles
                                      22 233, 426, and 651 of the Nevada Revised Statutes are hereinafter referred to as the “State
                                      23 Discrimination Statutes”).
                                      24           14.   BORENSTEIN’s psychological record of impairments include, but are not limited to,
                                      25 bipolar disorder, manic depression, anxiety, and post-traumatic stress disorder, and his medical record
                                      26 includes, but is not limited to, cardiovascular impairments.
                                      27           15.   BORENSTEIN uses a self-trained service dog to assist him with his disabilities.
                                      28           16.   BORENSTEIN is indigent.


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 9 of 63




                                       1           17.   The Animal Foundation (hereinafter, “TAF”) operates the Lied Animal Shelter, which is
                                       2 a facility designated by CLARK COUNTY ANIMAL CONTROL (hereinafter, “CCAC”) for receiving
                                       3 and holding animals, as defined in Nevada Revised Statute § 574.240.
                                       4           18.   TAF is a non-profit entity receiving millions of dollars annually, including nearly five
                                       5 million dollars in public funding in 2020, to provide shelter services for local governments in the
                                       6 greater Las Vegas Valley, including CCAC.
                                       7           19.   In or about the fall of 2018, BORENSTEIN’s former dog, Rambo, was held at the Lied
                                       8 Animal Shelter for weeks while BORENSTEIN was hospitalized.
                                       9           20.   On or before fall 2018, TAF, through its officers, directors, managers, supervisors,
                                      10 agents, and/or employees, knew that BORENSTEIN was disabled and/or had a record of impairment,
                                      11 and/or they regarded him as being disabled.
                                      12           21.   BORENSTEIN did not compensate TAF for the time Rambo was boarded.
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                                                   22.   Upon information and belief, TAF Chief Operating Officer CARLY SCHOLTEN
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                                      14 (hereinafter, “COO SCHOLTEN”), became aware of Rambo’s hold at the Lied Animal Shelter and that
                                      15 BORENSTEIN was unable to pay for it.
                                      16           23.   TAF, through its officers, directors, managers, supervisors, agents, and/or employees,
                                      17 including COO SCHOLTEN, was displeased by BORENSTEIN’s failure to pay for Rambo’s boarding.
                                      18           24.   BORENSTEIN owned Rambo for many years before Rambo subsequently died later in
                                      19 2018, which, upon information and belief, was unrelated to his hold or the care he received at the Lied
                                      20 Animal Shelter.
                                      21           25.   Rambo was a service dog, as defined in 28 Code of Federal Regulation § 36.104 and
                                      22 Nevada Revised Statute § 426.097.
                                      23           26.   BORENSTEIN adopted Mana in or about January 2019 from the Henderson Animal
                                      24 Shelter in Henderson, Nevada.
                                      25           27.   Mana is a German Shepard that BORENSTEIN believes resembles Rambo in both
                                      26 mannerisms and characteristics.
                                      27           28.   BORENSTEIN selected Mana, in part, because Mana reminds BORENSTEIN of
                                      28 Rambo.


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 10 of 63




                                       1            29.   BORENSTEIN trained Mana to assist him with his disabilities.
                                       2            30.   CCAC through, upon information and belief, Lieutenant VICTOR ZAVALA,
                                       3 (hereinafter, “LT. ZAVALA”), vouched for BORENSTEIN before the Henderson Animal Shelter
                                       4 adopted Mana to him.
                                       5            31.   Mana is a service dog, as defined in 28 Code of Federal Regulation § 36.104 and
                                       6 Nevada Revised Statute § 426.097.
                                       7            32.   On or about April 15, 2019, Mana was picked up by CCAC, through one of its officers,
                                       8 directors, managers, supervisors, agents, and/or employees, and held overnight at the Lied Animal
                                       9 Shelter operated by TAF, when BORENSTEIN was transported to the hospital.
                                      10            33.   BORENSTEIN did not compensate TAF for Mana’s overnight boarding.
                                      11            34.   Upon information and belief, COO SCHOLTEN was informed that Mana was sheltered,
                                      12 at the Lied Animal Shelter in April 2019.
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                                                    35.   CCAC, through its officers, directors, managers, supervisors, agents, and/or employees,
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                                      14 knew that BORENSTEIN was disabled and/or had a record of impairment, and/or regarded him as
                                      15 being disabled before May 2019.
                                      16            36.   On or about May 12, 2019, BORENSTEIN was accompanied by Mana, when he drove
                                      17 himself to SUNRISE HOSPITAL, after experiencing symptoms consistent with a heart attack.
                                      18            37.   BORENSTEIN parked his rental car near the emergency room entrance and went inside
                                      19 with Mana.
                                      20            38.   Being very protective of BORENSTEIN, Mana became anxious inside the hospital
                                      21 emergency waiting room, and BORENSTEIN took Mana back to his air-conditioned vehicle and
                                      22 returned inside the hospital, where BORENSTEIN learned that he would be admitted to SUNRISE
                                      23 HOSPITAL’s intensive care unit for cardiac care.
                                      24            39.   BORENSTEIN informed SUNRISE HOSPITAL staff that his service dog was in his car
                                      25 and that he did not have family or friends who could care for the dog, who would need boarding while
                                      26 BORENSTEIN was incapacitated in the hospital; after providing this information, BORENSTEIN was
                                      27 sedated.
                                      28            40.   At or about 1:58 p.m., on May 12, 2019, unidentified staff of SUNRISE HOSPITAL


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 11 of 63




                                       1 called CCAC and advised the dispatch clerk that BORENSTEIN had been admitted to the hospital and
                                       2 that SUNRISE HOSPITAL security was standing by the emergency room entrance so that the CCAC
                                       3 officer could take possession of Mana.
                                       4           41.   SUNRISE HOSPITAL, through its officers, directors, managers, supervisors, agents,
                                       5 and/or employees, knew that BORENSTEIN was disabled and/or had a record of impairment, and/or
                                       6 regarded him as being disabled before calling CCAC.
                                       7           42.   Upon arrival at SUNRISE HOSPITAL, CCAC Officer “CE 171” met with SUNRISE
                                       8 HOSPITAL Security Officer Vallan, who advised the CCAC officer that BORENSTEIN’s vehicle was
                                       9 in the emergency room drop-off driveway, that BORENSTEIN had been admitted as an inpatient, and
                                      10 that BORENSTEIN’s dog was in the vehicle; Officer Vallan stated he thought the dog seemed
                                      11 “aggressive”.
                                      12           43.   Upon information and belief, CCAC Officer “CE 171” is Rachel Lund (hereinafter,
5550 Painted Mirage Road, Suite 320




                                      13 “Officer Lund”).
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                                      14           44.   After speaking with Security Officer Vallan, Officer Lund went to the vehicle, where
                                      15 she observed Mana inside, barking excessively, while SUNRISE HOSPITAL Security Officer Carrero
                                      16 and Registered Nurse ULRIKE PASTERNAK (hereinafter, “NURSE PASTERNAK”) stood nearby.
                                      17           45.   Security Officer Carrero and NURSE PASTERNAK advised Officer Lund that
                                      18 BORENSTEIN was then sedated.
                                      19           46.   Prior to speaking with Officer Lund, NURSE PASTERNAK knew that BORENSTEIN
                                      20 was disabled and/or had a record of impairment, and/or she regarded him as being disabled.
                                      21           47.   Officer Lund advised CCAC Officer “CE 139” of the information relayed to her by
                                      22 SUNRISE HOSPITAL staff, including that BORENSTEIN was sedated and claimed Mana as his
                                      23 service dog, and she obtained permission from CCAC Officer “CE 139” to remove Mana from the
                                      24 vehicle and place only a ten-day hold on him.
                                      25           48.   Upon information and belief, CCAC Officer “CE 139” is LT. ZAVALA.
                                      26           49.   LT. ZAVALA had prior interactions with BORENSTEIN, so he already knew that
                                      27 BORENSTEIN was disabled and/or had a record of impairment, and/or he regarded BORENSTEIN as
                                      28 being disabled, prior to speaking with Officer Lund.


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 12 of 63




                                       1           50.   Despite his knowledge of the circumstances surrounding Mana’s seizure from
                                       2 BORENSTEIN’s vehicle, where Mana’s presence was authorized, including his knowledge of
                                       3 BORENSTEIN’s disabilities and current hospitalization, his knowledge of Mana’s status as
                                       4 BORENSTEIN’s claimed service animal, and his knowledge that Mana’s recovery by BORENSTEIN
                                       5 was imminent following BORENSTEIN’s hospitalization, LT. ZAVALA acted with deliberate
                                       6 indifference when he failed to ensure that a sufficient hold was placed on Mana so that BORENSTEIN
                                       7 could reclaim him at the end of his hospitalization.
                                       8           51.   LT. ZAVALA’s failure to ensure that a sufficient hold was placed on Mana for his
                                       9 recovery by BORENSTEIN, despite all of LT. ZAVALA’s foregoing knowledge about the situation,
                                      10 frustrated BORENSTEIN’s permanent possession of his service animal and made Mana vulnerable to
                                      11 adoption by someone else.
                                      12           52.   NURSE PASTERNAK signed a CCAC impound card releasing Mana to Officer Lund.
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                                                   53.   Officer Lund left a copy of the impound card with NURSE PASTERNAK for her to
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                                      14 give to BORENSTEIN to advise him about the impound and of the hold placed on Mana when he
                                      15 regained consciousness.
                                      16           54.   Security Officer Carrero and NURSE PASTERNAK reiterated to Officer Lund that
                                      17 BORENSTEIN had informed SUNRISE HOSPITAL staff that Mana was a service dog and that Mana
                                      18 was not acting right because BORENSTEIN and Mana had been involved in a physical altercation with
                                      19 BORENSTEIN’s landlord, who evicted them, which is why, BORENSTEIN told them, he left Mana in
                                      20 the vehicle.
                                      21           55.   Nevertheless, NURSE PASTERNAK, despite all of her foregoing knowledge about the
                                      22 situation, failed to ensure that CCAC, through its officers, directors, managers, supervisors, agents,
                                      23 and/or employees, including LT. ZAVALA, placed a proper and sufficient hold on Mana to ensure that
                                      24 BORENSTEIN was not deprived of his permanent possession of Mana while he was hospitalized.
                                      25           56.   Officer Lund removed Mana from the vehicle using a control stick, and she documented
                                      26 all the foregoing details in CCAC records, describing Mana as bright, alert, and responsive, with no
                                      27 obvious injuries.
                                      28           57.   Officer Lund and/or other officers, directors, managers, supervisors, agents, and/or


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 13 of 63




                                       1 employees, at CCAC, acting under the direction and authority of LT. ZAVALA, took Mana to the Lied
                                       2 Animal Shelter operated by TAF.
                                       3           58.   TAF, through its officers, directors, managers, supervisors, agents, and/or employees,
                                       4 received a copy of the CCAC Impound Card that Officer Lund left with NURSE PASTERNAK to be
                                       5 given to BORENSTEIN, which stated, “Owner hospitalized / admitted and currently sedated.”
                                       6           59.   Upon information and belief, COO SCHOLTEN was informed that Mana was sheltered,
                                       7 accordingly.
                                       8           60.   BORENSTEIN was subsequently transferred from SUNRISE HOSPITAL to Loma
                                       9 Linda University Medical Center in California.
                                      10           61.   SUNRISE HOSPITAL, acting through its officers, directors, supervisors, agents, and/or
                                      11 employees, failed to ensure that Mana was safely kept, even after learning of BORENSTEIN’s transfer
                                      12 to a hospital out of state, until BORENSTEIN could reclaim him.
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                                                   62.   At or about 8:49 a.m., on May 13, 2019, an email was sent to BORENSTEIN’s email
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                                      14 address by a person identifying herself as “Isaura Lopez-Casteneda” from TAF. The email was titled
                                      15 “Impounded Animal, ID#A1055232 1st Attempt ‘Please read all information.” [sic]
                                      16           63.   An authorization letter for pick-up and a credit card charge authorization were both
                                      17 attached to the email.
                                      18           64.   The email stated that TAF had an animal in its shelter that was registered to someone
                                      19 other than the person surrendering the animal and asked BORENSTEIN to call TAF.
                                      20           65.   “Impounded Animal, ID#A1055232” referred to Mana.
                                      21           66.   The email further stated that if BORENSTEIN did not contact TAF by 2:35 p.m., on
                                      22 May 22, 2019, Mana would be evaluated by a veterinarian and by TAF’s Behavioral Department, and if
                                      23 Mana passed the evaluations, he might be sent to adoption or to a rescue organization, and if he did not
                                      24 pass the evaluations, he might be humanely euthanized.
                                      25           67.   The email instructed BORENSTEIN to contact TAF for a quote on fees, if he planned
                                      26 on reclaiming Mana, and further, to contact two individuals whose email addresses were provided
                                      27 along with a telephone number, if he wanted more time to claim Mana. The email further instructed
                                      28 that if BORENSTEIN received a recorded message when he called TAF, to leave a message no matter


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 14 of 63




                                       1 what TAF’s recorded message said and to do so before the time expired on Mana’s hold.
                                       2           68.   The email also provided information about the “Keeping Every Person and Pet
                                       3 Together” (“KEPPT”) program and a promise from TAF to help with barriers in finding pet-friendly
                                       4 housing; a telephone number for CCAC was also provided.
                                       5           69.   The KEPPT program is an owner-surrender intervention program designed to keep pets
                                       6 out of the shelter.
                                       7           70.   At or about 9:26 a.m., on May 14, 2019, another email was sent to BORENSTEIN’s
                                       8 email address by a person identifying herself as “Isaura Lopez-Casteneda” from TAF. The email was
                                       9 titled “***Correct Impounded Animal, ID#A1055232 2nd Attempt ‘Please read all information.” [sic]
                                      10           71.   The second email was substantially similar to the first email and included the same two
                                      11 attachments authorizing pick-up and credit card charges, except in the body of the email it directed
                                      12 BORENSTEIN to refer to “Animal ID#A1049211” when corresponding with TAF.
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                                                   72.   “ID#A1049211” was not Mana’s correct TAF identification number.
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                                      14           73.   TAF, through its officers, directors, managers, supervisors, agents, and/or employees,
                                      15 including, upon information and belief, COO SCHOLTEN, knew that BORENSTEIN had been
                                      16 hospitalized and sedated and was, therefore, unlikely to receive these emails, and/or TAF and COO
                                      17 SCHOLTEN were deliberately indifferent about ensuring that BORENSTEIN received actual notice
                                      18 and an opportunity to be heard regarding Mana’s boarding and TAF’s intentions with Mana.
                                      19           74.   In fact, BORENSTEIN did not receive these emails on the dates they were sent, because
                                      20 BORENSTEIN was still in the hospital suffering from a serious medical condition and was unable to
                                      21 then access his email.
                                      22           75.   While still in the hospital, however, BORENSTEIN subsequently contacted TAF several
                                      23 times before May 22, 2019, and he left voicemail messages at the inconsistently-monitored number
                                      24 listed in the emails informing TAF that he was in the hospital and wanted to reclaim Mana; despite his
                                      25 repeated efforts, BORENSTEIN was not able to speak with anyone directly.
                                      26           76.   On or about May 24, 2019, BORENSTEIN telephoned a staff member at CCAC and
                                      27 explained that he had a heart attack, and he provided the room and bed number where he was staying at
                                      28 Loma Linda UMC.


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 15 of 63




                                       1           77.   During the phone call with the staff member at CCAC, BORENSTEIN requested to
                                       2 have the hold on Mana extended and explained that he did not have access to a telephone to further
                                       3 communicate at that time.
                                       4           78.   BORENSTEIN’s inquiries complied with the instructions provided in the emails from
                                       5 TAF and further amounted to requests for a reasonable accommodation to hold Mana longer, pursuant
                                       6 to the ADA and State Discrimination Statutes, so that BORENSTEIN could reclaim him, after he got
                                       7 out of the hospital.
                                       8           79.   Upon information and belief, COO SCHOLTEN was aware of BORENSTEIN’s request
                                       9 to hold Mana longer but deliberately disregarded it.
                                      10           80.   LT. ZAVALA sent an email to TAF, through its officers, directors, managers,
                                      11 supervisors, agents, and/or employees, to advise TAF of BORENSTEIN’s request, and he documented
                                      12 the foregoing details in CCAC records, dated May 28, 2019.
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                                                   81.   Upon information and belief, LT. ZAVALA’s email was sent to COO SCHOLTEN.
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                                      14           82.   After relaying this information, LT. ZAVALA acted with deliberate indifference when
                                      15 he failed to respond to BORENSTEIN’s request for a reasonable accommodation by failing to ensure
                                      16 that Mana was held, in accordance with BORENSTEIN’s request, or otherwise to ensure that Mana was
                                      17 safeguarded until BORENSTEIN received notice and an opportunity to be heard about his request for a
                                      18 reasonable accommodation.
                                      19           83.   Upon or before receiving LT. ZAVALA’s email, COO SCHOLTEN knew that
                                      20 BORENSTEIN was disabled and/or had a record of impairment, and/or she regarded him as being
                                      21 disabled, including because of her past interactions with BORENSTEIN.
                                      22           84.   Upon information and belief, COO SCHOLTEN and/or other officers, directors,
                                      23 managers, supervisors, agents, and/or employees of TAF, acting under her direction and authority,
                                      24 purportedly called several Las Vegas hospitals in a pretextual effort to document additional efforts at
                                      25 reaching BORENSTEIN, even though they knew BORENSTEIN was not in Las Vegas and that he did
                                      26 not have access to a telephone.
                                      27           85.   Furthermore, COO SCHOLTEN acted with deliberate indifference and failed to
                                      28 reasonably accommodate BORENSTEIN by failing to ensure that Mana was held or otherwise


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 16 of 63




                                       1 safeguarded until BORENSTEIN received notice and an opportunity to be heard regarding Mana, even
                                       2 when BORENSTEIN’s repeated attempts to contact TAF and CCAC made it clear to COO
                                       3 SCHOLTEN that BORENSTEIN had imminent intentions to recover his service animal at the first
                                       4 opportunity, once he had overcome the limitations of his temporarily incapacitating disabilities.
                                       5           86.   On May 28, 2019, LT. ZAVALA documented in CCAC records that, upon learning that
                                       6 TAF was unable to reach BORENSTEIN at “UMC,” LT. ZAVALA attempted to telephone
                                       7 BORENSTEIN at a hospital in Las Vegas, where LT. ZAVALA believed BORENSTEIN had
                                       8 previously stayed, and LT. ZAVALA purportedly left a message with a caseworker requesting
                                       9 BORENSTEIN to call him.
                                      10           87.   After purportedly leaving this message, LT. ZAVALA acted with deliberate indifference
                                      11 and failed to reasonably accommodate BORENSTEIN by failing to ensure that Mana was held or
                                      12 otherwise safeguarded until BORENSTEIN received notice and an opportunity to be heard regarding
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                                      13 Mana, even when LT. ZAVALA was aware of BORENSTEIN’s repeated attempts to contact CCAC in
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                                      14 order to convey his imminent intentions to recover his service animal at the first opportunity, once he
                                      15 had overcome the limitations of his temporarily incapacitating disabilities.
                                      16           88.   According to LT. ZAVALA’s documentation in CCAC records, on or about May 30,
                                      17 2019, CCAC and/or TAF, acting on behalf of CCAC, through their respective officers, directors,
                                      18 managers, supervisors, agents, and/or employees, removed the hold placed on Mana and made him
                                      19 available for adoption on or about May 31, 2019.
                                      20           89.   Upon information and belief, converting Mana to the ownership of TAF and then
                                      21 releasing him for adoption, as though he was unclaimed property, was done with the knowledge and
                                      22 approval of COO SCHOLTEN, in reckless disregard for BORENSTEIN’s safety and well-being, in
                                      23 reckless disregard for BORENSTEIN’s rightful property interests, in reckless disregard for the
                                      24 reasonable accommodation protections entitled to BORENSTEIN by law, and in reckless disregard for
                                      25 TAF’s own KEPPT program, whose stated purpose is to facilitate animals staying with their rightful
                                      26 owners.
                                      27           90.   At or about 6:25 p.m., on June 1, 2019, Mana was adopted from TAF by ROE
                                      28 BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5.


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 17 of 63




                                       1           91.   Approximately thirteen minutes thereafter, at or about 6:38 p.m., on June 1, 2019,
                                       2 BORENSTEIN telephoned CCAC and left a voice message advising that he was still in the hospital and
                                       3 wanted to reclaim Mana.
                                       4           92.   BORENSTEIN discharged from the hospital on or about June 1, 2019, shortly after
                                       5 placing the telephone call to CCAC, and he returned to Las Vegas, Nevada.
                                       6           93.   At or about 10:59 a.m., on the morning of June 2, 2019, LT. ZAVALA spoke with
                                       7 BORENSTEIN and advised him that Mana had already been adopted from TAF.
                                       8           94.   BORENSTEIN, who was overcome with grief, informed LT. ZAVALA that he was
                                       9 going to kill himself and hung up the telephone.
                                      10           95.   BORENSTEIN drove to TAF, where he met with COO SCHOLTEN, and he begged her
                                      11 to return Mana to him, explaining that Mana was his service dog.
                                      12           96.   COO SCHOLTEN told BORENSTEIN that Mana had already been adopted to someone
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                                      13 else.
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                                      14           97.   BORENSTEIN presented COO SCHOLTEN with a written demand for Mana’s return.
                                      15           98.   COO SCHOLTEN told BORENSTEIN that TAF would euthanize Mana before
                                      16 allowing BORENSTEIN to have possession of him, stating that, in her opinion, BORENSTEIN was
                                      17 “too sick” to care for Mana.
                                      18           99.   At no point did BORENSTEIN relinquish his legal ownership of Mana to SUNRISE
                                      19 HOSPITAL, to CCAC, and/or to TAF; instead, SUNRISE HOSPITAL asked CCAC, a publicly-
                                      20 funded, government agency, to act as a temporary steward of Mana’s safety and well-being, because
                                      21 BORENSTEIN did not have family or friends he could rely upon to watch Mana while he was
                                      22 temporarily incapacitated by disability.
                                      23           100. Neither LT. ZAVALA nor COO SCHOLTEN made any effort to contact ROE
                                      24 BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5 to reclaim Mana for return to
                                      25 BORENSTEIN or otherwise to advise them of the converted adoption.
                                      26           101. BORENSTEIN left TAF and was hospitalized shortly thereafter for suicidal ideations
                                      27 and other physical or mental impairments.
                                      28           102. While waiting to be admitted to the hospital, at or about 12:09 p.m., on the afternoon of


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 18 of 63




                                       1 June 2, 2019, BORENSTEIN faxed legal documents to CCAC, pertaining to BORENSTEIN’s recent
                                       2 eviction proceedings, which included a written court finding that Mana is BORENSTEIN’s service dog.
                                       3           103. Less than an hour later, at or about l:02 p.m., LT. ZAVALA documented that LT.
                                       4 ZAVALA sent an email to an officer, director, manager, supervisor, agent, or employee of TAF,
                                       5 advising that he had received a call from BORENSTEIN requesting to hold Mana but noticed that
                                       6 Mana had been adopted on June 1, 2019. LT. ZAVALA further wrote that he was not sure what TAF
                                       7 could do for BORENSTEIN but further advised that CCAC had received the aforementioned court
                                       8 documents finding that Mana was a service dog.
                                       9           104. Upon information and belief, LT. ZAVALA’s email was sent to COO SCHOLTEN.
                                      10           105. The failures of CCAC, through its officers, directors, managers, supervisors, agents,
                                      11 and/or employees, including LT. ZAVALA, and TAF, through its officers, directors, managers,
                                      12 supervisors, agents, and/or employees, including COO SCHOLTEN, to act, in conscious disregard of
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                                      13 BORENSTEIN’s well-established Constitutional rights, caused BORENSTEIN to be deprived of his
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                                      14 possessory interest in Mana and his ability to enjoy his life, liberty, and happiness, including because of
                                      15 Mana’s trained assistance with BORENSTEIN’s disabilities.
                                      16           106. BORENSTEIN filed the original Complaint commencing this action on June 10, 2019.
                                      17           107. BORENSTEIN contacted elected public officials, community leaders, animal rights
                                      18 organizations, including the Humane Network, and others, seeking assistance in having Mana returned
                                      19 to him.
                                      20           108. Bonney Brown, President of the Humane Network, contacted an officer, director,
                                      21 manager, supervisor, agent, and/or employee of TAF, after receiving BORENSTEIN’s email seeking
                                      22 help, and on June 19, 2019, Ms. Brown advised BORENSTEIN that “the director” was “looking into
                                      23 it.”
                                      24           109. Upon information and belief, when Ms. Brown referenced “the director” in her email,
                                      25 she was referring to COO SCHOLTEN, who also holds the title of “shelter operations director.”
                                      26           110. On June 20, 2019, BORENSTEIN filed a motion for preliminary injunction in this
                                      27 matter, seeking the return of Mana.
                                      28           111. In the interim period between BORENSTEIN’s separation from Mana and the filing of


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 19 of 63




                                       1 this First Amended Complaint, (hereinafter, “FAC”), BORENSTEIN has suffered great mental anguish
                                       2 and other injuries due to his loss of Mana.
                                       3           112. BORENSTEIN has also been the victim of two violent crimes and has been hospitalized
                                       4 several times during this same period, including because he has not had Mana to protect him and to
                                       5 assist him with his disabilities.
                                       6           113. During one of BORENSTEIN’s hospitalizations, a doctor provided BORENSTEIN with
                                       7 a written prescription for a psychiatric/emotional support animal, from which the doctor said
                                       8 BORENSTEIN would benefit.
                                       9           114. TAF, through its officers, directors, managers, supervisors, agents, and/or employees,
                                      10 including COO SCHOLTEN, became aware of BORENSTEIN’s doctor’s prescription but refused to
                                      11 allow BORENSTEIN to adopt an animal from TAF, when he attempted to do so.
                                      12           115. BORENSTEIN then tried to adopt an animal from the Henderson Animal Shelter but
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                                      13 was unable to do so.
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                                      14           116. The person BORENSTEIN spoke with at the Henderson Animal Shelter told him that
                                      15 there was an electronic warning from TAF in a database, accessible to the staff of the Henderson
                                      16 Animal Shelter, as well as animal law enforcement agencies and, upon information and belief, other
                                      17 animal shelters and/or rescue organizations, warning other animal agencies in Clark County not to
                                      18 adopt an animal to BORENSTEIN.
                                      19           117. When BORENSTEIN requested to have a copy of the warning, the person referred him
                                      20 to the Henderson Deputy Police Chief in charge of the shelter.
                                      21           118. BORENSTEIN telephoned the Henderson Deputy Police Chief, who confirmed that
                                      22 someone from TAF had entered an electronic note in the database with a warning not to adopt an
                                      23 animal to BORENSTEIN, but the Deputy Police Chief told BORENSTEIN that BORENSTEIN would
                                      24 have to get a copy of the record directly from TAF.
                                      25           119. BORENSTEIN also spoke with LT. ZAVALA, who confirmed the existence of the
                                      26 warning in the database, and he told BORENSTEIN that COO SCHOLTEN was responsible for it. LT.
                                      27 ZAVALA also told BORENSTEIN that BORENSTEIN would have to obtain a copy of the record from
                                      28 TAF.


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 20 of 63




                                       1           120. TAF, through its officers, directors, managers, supervisors, agents, and/or employees,
                                       2 including COO SCHOLTEN, did not respond to BORENSTEIN’s public records request for
                                       3 information.
                                       4           121. TAF’s actions, through COO SCHOLTEN and/or another officer, manager, supervisor,
                                       5 agent, or employee, in preventing BORENSTEIN from adopting another animal were done in
                                       6 retaliation for his having first communicated with elected public officials and other public and private
                                       7 leaders about his loss of Mana at the hands of CCAC and TAF, through their respective officers,
                                       8 directors, managers, supervisors, agents, and/or employees, and thereafter filing the instant legal action
                                       9 and request for immediate injunctive relief.
                                      10           122. CCAC, through LT. ZAVALA and/or another officer, manager, supervisor, agent, or
                                      11 employee, knew that TAF, through its officers, directors, managers, supervisors, agents, and/or
                                      12 employees, including COO SCHOLTEN, placed the warning not to adopt an animal to BORENSTEIN
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                                      13 in the electronic files accessible to CCAC and other entities responsible for the adoption of animals,
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                                      14 and CCAC, through LT ZAVALA and/or another officer, manager, supervisor, agent, or employee,
                                      15 failed to correct the records or otherwise ensure that BORENSTEIN was not subjected to further
                                      16 discrimination and retaliation.
                                      17           123. BORENSTEIN’s inability to adopt another animal has caused him to suffer additional
                                      18 great mental anguish and other injuries.
                                      19                                         —FEDERAL CLAIMS—
                                                                                        V.
                                      20
                                                                               FIRST CAUSE OF ACTION
                                      21
                                      22             42 U.S.C. § 1983 Violation of BORENSTEIN’s Fourteenth Amendment Rights

                                      23                                    -SUBSTANTIVE DUE PROCESS-
                                                             (Deprivation of BORENSTEIN’s Constitutional Right to Property)
                                      24
                                      25                 (Asserted against TAF, CCAC, COO SCHOLTEN, and LT. ZAVALA)

                                      26           124. BORENSTEIN incorporates by reference all prior allegations of this FAC, as though
                                      27 fully set forth herein.
                                      28           125. BORENSTEIN has a property interest in his ownership of Mana.


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 21 of 63




                                       1           126. CCAC, acting under its police powers and vested with authority under color of law, is
                                       2 responsible for the illegal actions and damages inflicted upon BORENSTEIN, through its officers,
                                       3 directors, managers, supervisors, agents, employees and/or government contractors who implemented
                                       4 and/or enforced relevant ordinances, policies, customs, and practices in an arbitrary and capricious
                                       5 manner, so as to violate BORENSTEIN’s constitutional rights.
                                       6           127. TAF, as a publicly paid contractor and agent of CCAC, took actions of a governmental
                                       7 nature under the police powers of CCAC that are totally intertwined with government action and vested
                                       8 with government authority under color of law and, as such, is responsible for the illegal actions and
                                       9 damages inflicted upon BORENSTEIN, through its officers, directors, managers, supervisors, agents,
                                      10 and/or employees who implemented and/or enforced relevant ordinances, policies, customs, and
                                      11 practices in an arbitrary and capricious manner, so as to violate BORENSTEIN’s constitutional rights.
                                      12           128. Such ordinances, policies, customs, and practices include the arbitrary and capricious
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                                      13 enforcement of the Clark County Title 10 Animal Ordinance, the ADA, and the State Discrimination
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                                      14 and Vulnerable Persons Statutes, thereby resulting in a permanent, widespread, well-settled practice or
                                      15 custom constituting the standard operating procedures of CCAC and TAF, for which no follow-up
                                      16 investigations or disciplinary actions are taken against those officers, directors, managers, supervisors,
                                      17 agents, and/or employees who engage in improper enforcement and no corrective training or
                                      18 instructions are provided by CCAC or TAF to them.
                                      19           129. At all times relevant hereto, LT. ZAVALA and COO SCHOLTEN, acting in their
                                      20 individual and official capacities under color of law, were personally involved, as alleged herein, and
                                      21 acted intentionally and/or with callous and reckless disregard for BORENSTEIN’s constitutional rights
                                      22 and engaged in conduct that shocks the conscience.
                                      23           130. In addition to LT. ZAVALA’s and COO SCHOLTEN’s direct personal actions
                                      24 adversely affecting BORENSTEIN’s constitutional rights, relative to this cause of action, LT.
                                      25 ZAVALA and/or COO SCHOLTEN directed or knew of the misconduct by their respective
                                      26 subordinates, relative to this cause of action, and facilitated, approved, condoned, and/or turned a blind
                                      27 eye toward it.
                                      28           131. The intentional or deliberately indifferent actions in callous and reckless disregard for


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 22 of 63




                                       1 BORENSTEIN’s constitutional rights were unjustifiable by any government interest.
                                       2           132. Such actions caused a loss and effect to BORENSTEIN’s constitutional rights of being
                                       3 able to enjoy his life, liberty, property, and happiness in Mana and those services which Mana provided
                                       4 related to BORENSTEIN’s disabilities, as secured, guaranteed, and incorporated by the Fourteenth
                                       5 Amendment to the Constitution of the United States Due Process Clause (substantive).
                                       6           133. Defendants should be enjoined from continued arbitrary and capricious enforcement of
                                       7 Clark County Title 10 Animal Ordinance, the ADA, and/or the State Discrimination and Vulnerable
                                       8 Person Statutes.
                                       9           134. As a direct and proximate result of the intentional, malicious, willful, deliberately
                                      10 indifferent, oppressive, and/or reckless conduct of Defendants, and each of them, for this cause of
                                      11 action, BORENSTEIN sustained injury, harm, suffering, mental anguish, and damages, entitling him to
                                      12 compensatory damages, punitive damages, and prospective injunctive and declaratory relief, as allowed
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                                      13 by law, according to proof at trial.
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                                      14           135. As a further, direct and proximate result of the intentional, malicious, willful,
                                      15 deliberately indifferent, oppressive, and/or reckless conduct of Defendants, and each of them, for this
                                      16 cause of action, BORENSTEIN has had to retain the services of attorneys in this matter, for which he
                                      17 seeks attorneys’ fees and costs, including under 42 U.S.C. §§ 1983 and 1988 et seq.
                                      18                                                    VI.

                                      19                                        SECOND CAUSE OF ACTION

                                      20             42 U.S.C. § 1983 Violation of BORENSTEIN’s Fourteenth Amendment Rights

                                      21                                     -EQUAL PROTECTION CLAIM-
                                                         (Differential Treatment between BORENSTEIN and other Animal Owners)
                                      22
                                      23                 (Asserted against TAF, CCAC, COO SCHOLTEN, and LT. ZAVALA)

                                      24          136.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      25 fully set forth herein.
                                      26          137.   BORENSTEIN has a property interest in his ownership of Mana.

                                      27          138.   CCAC, including through its officers, directors, managers, supervisors, agents,

                                      28 employees, and/or government contractors, acting under its police powers and vested with authority


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 23 of 63




                                       1 under color of law, is responsible for the deprivation of BORENSTEIN’s federal rights, including his
                                       2 right to equal protection of the laws as secured, guaranteed, and incorporated by the Fourteenth
                                       3 Amendment to the Constitution of the United States, by implementing and/or enforcing relevant
                                       4 ordinances, policies, customs, and practices in an arbitrary and capricious manner, so as to violate
                                       5 BORENSTEIN’s constitutional rights.
                                       6          139.   TAF, as a publicly paid contractor and agent of CCAC, including through TAF’s
                                       7 officers, directors, managers, supervisors, agents, and/or employees, took actions of a governmental
                                       8 nature under the police powers of CCAC that are totally intertwined with government action and vested
                                       9 with government authority under color of law and, as such, is responsible for the deprivation of
                                      10 BORENSTEIN’s federal rights, including his right to equal protection of the laws as secured,
                                      11 guaranteed, and incorporated by the Fourteenth Amendment to the Constitution of the United States, by
                                      12 implementing and/or enforcing relevant ordinances, policies, customs, and practices in an arbitrary and
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                                      13 capricious manner, so as to violate BORENSTEIN’s constitutional rights.
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                                      14          140.   BORENSTEIN is in a class of persons who was subjected to the Clark County Title 10
                                      15 Animal Ordinance.
                                      16          141.   CCAC and TAF, by and through its officers, directors, managers, supervisors, agents,
                                      17 and/or employees, including LT. ZAVALA and COO SCHOLTEN, and each of them, motivated by
                                      18 discriminatory purposes, including because of BORENSTEIN’s disabilities and/or indigent status, and
                                      19 intending to so discriminate against PLAINTIFF, treated PLAINTIFF in a different manner as
                                      20 compared to other persons who were subjected to the Clark County Title 10 Animal Ordinance, such
                                      21 differential treatment included:
                                      22             A. Failing to place an adequate hold on Mana and failing to extend the hold on Mana
                                      23          sufficient to enable BORENSTEIN to reclaim him, after BORENSTEIN was released
                                      24          from the hospital;
                                      25             B. Failing to acknowledge and/or act upon telephone and/or email messages from
                                      26          BORENSTEIN, including those made in accordance with email instructions provided to
                                      27          BORENSTEIN by TAF;
                                      28             C. Failing to acknowledge and/or act upon those telephone and/or email messages


                                                                                       23
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 24 of 63




                                       1          between CCAC and TAF concerning Mana or BORENSTEIN;
                                       2              D. Failing to follow-up on communications between CCAC and TAF to ensure
                                       3          appropriate actions were taken to ensure Mana’s safekeeping for BORENSTEIN while he
                                       4          was incapacitated by disability in the hospital;
                                       5              E. Failing to make a genuine, rather than a pretextual, effort to locate BORENSTEIN
                                       6          while he was hospitalized before placing Mana for adoption;
                                       7              F. Failing to place or explore the possibility of placing Mana in the KEPPT program
                                       8          or a similar foster program until BORENSTEIN could reclaim him;
                                       9              G. Failing to provide adequate notice and an opportunity for BORENSTEIN to be
                                      10          heard before allowing Mana to be adopted;
                                      11              H. Failing to notify ROE BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-
                                      12          5 of Mana’s converted adoption in a timely manner to ensure the preservation of
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                                                  BORENSTEIN’s rights and Mana’s status as a service animal at the time he was taken
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                                      14          from BORENSTEIN; and
                                      15              I. Refusing to allow BORENSTEIN to adopt another animal from TAF, and/or
                                      16          thwarting his efforts to adopt from another shelter and/or rescue organization in Clark
                                      17          County, Nevada and/or elsewhere by placing a warning about him in the adoption
                                      18          database used by animal adoption facilities.
                                      19          142.   However, CCAC and TAF, by and through its officers, directors, managers, supervisors,
                                      20 agents, and/or employees, including LT. ZAVALA and COO SCHOLTEN, and each of them, did not
                                      21 treat other persons who were subjected to the Clark County Title 10 Animal Ordinance in a similar
                                      22 manner, including by making a genuine effort to locate and provide notification to the animals’ owners
                                      23 about their sheltered animals’ whereabouts and the required actions from the owners; by placing
                                      24 adequate holds on their animals and holding them for extended periods when the animals’ owners were
                                      25 identified and the circumstances made it difficult for the owners to claim them in the prescribed time
                                      26 periods; by communicating with the animals’ owners and between each other to ensure that the animals
                                      27 were not prematurely and permanently separated from their owners who desired to maintain possession
                                      28 of their animals; by placing their animals in the KEPPT program or exploring alternative options for the


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 25 of 63




                                       1 animals instead of adopting them out; by correcting and unwinding improper adoptions upon learning
                                       2 of them; and/or by not retaliating and allowing owners to adopt other animals from TAF.
                                       3          143.    Such differential treatment between BORENSTEIN and other animal owners was not
                                       4 rationally related to a legitimate government purpose.
                                       5          144.    At all times relevant hereto, LT. ZAVALA and COO SCHOLTEN, acting in their
                                       6 individual and official capacities under color of law, were personally involved, as alleged herein, and
                                       7 acted intentionally and/or with callous and reckless disregard for BORENSTEIN’s constitutional rights.
                                       8          145.    In addition to LT. ZAVALA’s and COO SCHOLTEN’s direct personal actions
                                       9 adversely affecting BORENSTEIN’s constitutional rights, relative to this cause of action, LT.
                                      10 ZAVALA and COO SCHOLTEN directed or knew of the misconduct by their respective subordinates,
                                      11 relative to this cause of action, and facilitated, approved, condoned, and/or turned a blind eye toward it.
                                      12          146.    Defendants should be enjoined from continued discriminatory conduct.
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                                                  147.    As a direct and proximate result of the intentional, malicious, willful, deliberately
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                                      14 indifferent, oppressive, and/or reckless conduct of Defendants, and each of them, for this cause of
                                      15 action, BORENSTEIN sustained injury, harm, suffering, mental anguish, and damages, entitling him to
                                      16 compensatory damages, punitive damages, and prospective injunctive and declaratory relief, as allowed
                                      17 by law, according to proof at trial.
                                      18          148.    As a further, direct and proximate result of the intentional, malicious, willful,
                                      19 deliberately indifferent, oppressive, and/or reckless conduct of Defendants, and each of them, for this
                                      20 cause of action, BORENSTEIN has had to retain the services of attorneys in this matter, for which he
                                      21 seeks attorneys’ fees and costs, including under 42 U.S.C. §§ 1983 and 1988 et seq.
                                      22                                                      VII.
                                      23                                        THIRD CAUSE OF ACTION
                                      24             42 U.S.C. § 1983 Violation of BORENSTEIN’s Fourteenth Amendment Rights
                                      25                                   -PROCEDURAL DUE PROCESS-

                                      26                 (Asserted against TAF, CCAC, COO SCHOLTEN, and LT. ZAVALA)

                                      27          149.    BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      28 fully set forth herein.


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 26 of 63




                                       1          150.   BORENSTEIN has a property interest in his ownership of Mana.
                                       2          151.   As such, BORENSTEIN could not be divested of his ownership in Mana before
                                       3 receiving proper notice, including the notice required by the Clark County Title 10 Animal Ordinance
                                       4 and/or Nev. Rev. Stat. § 108.540, and after BORENSTEIN was separated from Mana, he did not
                                       5 receive an opportunity to be heard, including, but not limited to fair consideration of his request for a
                                       6 reasonable accommodation of his disabilities and/or for a practice modification, as required under the
                                       7 ADA and State Discrimination Statutes, as well as the fundamental due process afforded and
                                       8 incorporated by the Fourteenth Amendment to the Constitution of the United States.
                                       9          152.   Nor was BORENSTEIN provided with any post-deprivation remedy after the
                                      10 confiscation of Mana, namely a notice requirement informing him of his right to challenge the
                                      11 government’s conduct in divesting him of his ownership right to Mana.
                                      12          153.   CCAC, acting under its police powers and vested with authority under color of law, is
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                                      13 responsible for the illegal actions and damages inflicted upon BORENSTEIN through its officers,
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                                      14 directors, managers, supervisors, agents, employees and/or government contractors, including LT.
                                      15 ZAVALA and those of TAF, who failed to provide BORENSTEIN with pre-deprivation remedies,
                                      16 prior to taking ownership of Mana, and/or post-deprivation remedies thereafter, thus violating
                                      17 BORENSTEIN’s fundamental due process rights.
                                      18          154.   TAF, as publicly paid contractor and agent of CCAC, took actions of a governmental
                                      19 nature under the police powers of CCAC that are totally intertwined with government action and vested
                                      20 with government authority under color of law and, as such, is responsible for the illegal actions and
                                      21 damages inflicted upon BORENSTEIN, through its officers, directors, managers, supervisors, agents,
                                      22 and/or employees, including COO SCHOLTEN, who failed to provide BORENSTEIN with pre-
                                      23 deprivation remedies, prior to taking ownership of Mana, and/or post-deprivation remedies thereafter,
                                      24 thus violating BORENSTEIN’s fundamental due process rights.
                                      25          155.   BORENSTEIN has a liberty interest in being able to adopt an animal to train to be his
                                      26 service animal and/or his emotional support animal, as prescribed by his doctor.
                                      27          156.   The fundamental due process afforded and incorporated by the Fourteenth Amendment
                                      28 to the Constitution of the United States requires that BORENSTEIN not be denied the right to adopt an


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 27 of 63




                                       1 animal based on a stigmatization that he is unfit to adopt an animal before receiving proper notice and
                                       2 an opportunity to challenge the determination, which BORENSTEIN was denied.
                                       3          157.     After TAF placed the warning in the electronic database accessible to animal adoption
                                       4 facilities stating or implying that BORENSTEIN was unfit to adopt an animal, BORENSTEIN was
                                       5 denied the fundamental due process afforded and incorporated by the Fourteenth Amendment to the
                                       6 Constitution of the United States when he was not provided with any post-deprivation remedy to
                                       7 challenge such stigmatization.
                                       8          158.     CCAC, acting under its police powers and vested with authority under color of law, is
                                       9 responsible for the illegal actions and damages inflicted upon BORENSTEIN through its officers,
                                      10 directors, managers, supervisors, agents, employees and/or government contractors, including those of
                                      11 TAF, who failed to provide BORENSTEIN with pre-deprivation remedies, prior to entering a warning
                                      12 in the database not to adopt an animal to BORENSTEIN, and/or failed to provide BORENSTEIN with
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                                      13 post-deprivation remedies thereafter, thus violating BORENSTEIN’s fundamental due process rights.
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                                      14          159.     TAF, as publicly paid contractor and agent of CCAC, took actions of a governmental
                                      15 nature under the police powers of CCAC that are totally intertwined with government action and vested
                                      16 with government authority under color of law and, as such, is responsible for the illegal actions and
                                      17 damages inflicted upon BORENSTEIN, through its officers, directors, managers, supervisors, agents,
                                      18 and/or employees, including COO SCHOLTEN, who failed to provide BORENSTEIN with pre-
                                      19 deprivation remedies, prior to entering the warning in the database, and/or failed to provide
                                      20 BORENSTEIN with post-deprivation remedies thereafter, thus violating BORENSTEIN’s fundamental
                                      21 due process rights.
                                      22          160.     At all times relevant hereto, LT. ZAVALA and COO SCHOLTEN, acting in their
                                      23 individual and official capacities under color of law, were personally involved, as alleged herein, and
                                      24 acted intentionally and/or with callous and reckless disregard for BORENSTEIN’s fundamental due
                                      25 process rights.
                                      26          161.     In addition to LT. ZAVALA’s and COO SCHOLTEN’s direct personal actions
                                      27 adversely affecting BORENSTEIN’s fundamental due process rights, LT. ZAVALA and COO
                                      28 SCHOLTEN directed or knew of the actions and omissions by their respective subordinates, relative to


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 28 of 63




                                       1 this cause of action, and facilitated, approved, condoned, and/or turned a blind eye toward them.
                                       2          162.     Defendants should be enjoined from any contemplated action whereby an animal is
                                       3 taken from a hospitalized individual for subsequent adoption to a third party without a meaningful pre-
                                       4 deprivation remedy before the adoption occurs, and Defendants should be mandated to ensure that
                                       5 owners are notified of any post-deprivation remedies available to them.
                                       6          163.     As a direct and proximate result of the intentional, malicious, willful, deliberately
                                       7 indifferent, oppressive, and/or reckless conduct of Defendants, and each of them, for this cause of
                                       8 action, BORENSTEIN sustained injury, harm, suffering, mental anguish, and damages, entitling him to
                                       9 compensatory damages, punitive damages, and prospective injunctive and declaratory relief, as allowed
                                      10 by law, according to proof at trial.
                                      11          164.     As a further, direct and proximate result of the intentional, malicious, willful,
                                      12 deliberately indifferent, oppressive, and/or reckless conduct of Defendants, and each of them, for this
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                                      13 cause of action, BORENSTEIN has had to retain the services of attorneys in this matter, for which he
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                                      14 seeks attorneys’ fees and costs, including under 42 U.S.C. §§ 1983 and 1988 et seq.
                                      15                                                     VIII.

                                      16                                        FOURTH CAUSE OF ACTION

                                      17                 42 U.S.C. § 1983 Violation of BORENSTEIN’s Fourth Amendment Rights

                                      18                                        -UNREASONABLE SEIZURE-

                                      19                  (Asserted against TAF, CCAC, COO SCHOLTEN, and LT. ZAVALA)

                                      20          165.     BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      21 fully set forth herein.
                                      22          166.     BORENSTEIN has a possessory interest in Mana.

                                      23          167.     CCAC, through its officers, directors, managers, supervisors, agents, and/or employees

                                      24 and those of its contractor, TAF, acting under its police powers and vested with authority under color of
                                      25 law, is responsible for the violation of BORENSTEIN’s federal rights, by unreasonably infringing on
                                      26 his possessory interests protected by the Fourth Amendment’s prohibition on unreasonable seizures,
                                      27 through the lawful possession of Mana for safekeeping while BORENSTEIN was hospitalized and then
                                      28 by unlawfully converting that temporary, authorized deprivation of BORENSTEIN’s possessory


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 29 of 63




                                       1 interests into a permanent, unlawful deprivation, through the adoption of Mana to ROE BUSINESS
                                       2 ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5 without BORENSTEIN’s consent or other lawful
                                       3 authority.
                                       4          168.   TAF, as a publicly paid contractor and agent of CCAC, including through TAF’s
                                       5 officers, directors, managers, supervisors, agents, and/or employees, took actions of a governmental
                                       6 nature under the police powers of CCAC that are totally intertwined with government action and vested
                                       7 with government authority under color of law and, as such, is responsible for the violation of
                                       8 BORENSTEIN’s federal rights, by unreasonably infringing on his possessory interests protected by the
                                       9 Fourth Amendment’s prohibition on unreasonable seizures, through the lawful possession of Mana for
                                      10 safekeeping while BORENSTEIN was hospitalized and then by unlawfully converting that temporary,
                                      11 authorized deprivation of BORENSTEIN’s possessory interests into a permanent, unlawful deprivation,
                                      12 and then adopting Mana to ROE BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5, without
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                                      13 BORENSTEIN’s consent or other lawful authority.
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                                      14          169.   Such taking of Mana did not implicate any important governmental interest to justify the
                                      15 seizure.
                                      16          170.   At all times relevant hereto, LT. ZAVALA and COO SCHOLTEN, acting in their
                                      17 individual and official capacities under color of law, were personally involved, as alleged herein, and
                                      18 acted intentionally and/or with callous and reckless disregard for BORENSTEIN’s right to be free from
                                      19 such unreasonable seizures.
                                      20          171.   In addition to LT. ZAVALA’s and COO SCHOLTEN’s direct personal actions
                                      21 adversely affecting BORENSTEIN’s fourth amendment right, LT. ZAVALA and COO SCHOLTEN
                                      22 directed or knew of the actions and omissions by their respective subordinates, relative to this cause of
                                      23 action, and facilitated, approved, condoned, and/or turned a blind eye toward them.
                                      24          172.   Defendants should be enjoined from any contemplated actions where, by decree or
                                      25 arbitrary action, hospitalized persons would be subject to such a flagrant seizure of their lawfully
                                      26 owned animals for subsequent adoption.
                                      27          173.   As a direct and proximate result of the intentional, malicious, willful, deliberately
                                      28 indifferent, oppressive, and/or reckless conduct of Defendants, and each of them, for this cause of


                                                                                        29
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 30 of 63




                                       1 action, BORENSTEIN sustained injury, harm, suffering, mental anguish, and damages, entitling him to
                                       2 compensatory damages, punitive damages, and prospective injunctive and declaratory relief, as allowed
                                       3 by law, according to proof at trial.
                                       4          174.    As a further, direct and proximate result of the intentional, malicious, willful,
                                       5 deliberately indifferent, oppressive, and/or reckless conduct of Defendants, and each of them, for this
                                       6 cause of action, BORENSTEIN has had to retain the services of attorneys in this matter, for which he
                                       7 seeks attorneys’ fees and costs, including under 42 U.S.C. §§ 1983 and 1988 et seq.
                                       8                                                      IX.

                                       9                                        FIFTH CAUSE OF ACTION

                                      10             42 U.S.C. § 1983 Violation of BORENSTEIN’s Fourteenth Amendment Rights

                                      11                           -PRIVATE TAKING WITHOUT COMPENSATION -

                                      12                 (Asserted against CCAC and TAF for declaratory and injunctive relief)
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                                      13          175.    BORENSTEIN incorporates by reference all prior allegations of this FAC, as though
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                                      14 fully set forth herein.
                                      15          176.    BORENSTEIN has a property interest in his ownership of Mana.

                                      16          177.    CCAC, by and through its officers, directors, managers, supervisors, agents, employees

                                      17 and/or government contractors, acting under its police powers and vested with authority under color of
                                      18 law, is responsible for the violation of BORENSTEIN’s federal rights, by taking Mana for public use
                                      19 without just compensation to BORENSTEIN in violation of the Fourteenth Amendment to the United
                                      20 States Constitution.
                                      21          178.    TAF, as contractor and agent of CCAC, through its officers, directors, managers,

                                      22 supervisors, agents, and/or employees, took actions of a governmental nature under the police powers
                                      23 of CCAC that are totally intertwined with government action and vested with government authority
                                      24 under color of law and, as such, is responsible for the violation of BORENSTEIN’s federal rights, by
                                      25 taking Mana for public use without just compensation to BORENSTEIN in violation of the Fourteenth
                                      26 Amendment to the United States Constitution.
                                      27          179.    BORENSTEIN seeks a declaratory judgment finding such taking illegal, so as to prevent

                                      28 the repetition of such policies and practices in the future.


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 31 of 63




                                       1            180.    BORENSTEIN seeks an injunction for the return of Mana.
                                       2            181.    BORENSTEIN has had to retain the services of attorneys in this matter, for which he
                                       3 seeks attorneys’ fees and costs, including under 42 U.S.C. §§ 1983 and 1988 et seq.
                                       4                                                     X.

                                       5                                       SIXTH CAUSE OF ACTION
                                                           42 U.S.C. § 1983 Violation of BORENSTEIN’s First Amendment Rights
                                       6
                                                                               -UNLAWFUL RETALIATION-
                                       7
                                       8                               (Asserted against TAF and COO SCHOLTEN)

                                       9            182.    BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      10 fully set forth herein.
                                      11            183.    After TAF allowed ROE BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5 to

                                      12 adopt Mana, BORENSTEIN engaged in speech and activity that was critical of Defendants, including
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                                      13 TAF and COO SCHOLTEN, who became aware of such speech and activity.
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                                      14            184.    That speech and activity was protected by the First Amendment to the United States

                                      15 Constitution because it addressed matters of political, social, or other concern to the community,
                                      16 including matters about inadequate oversight, misconduct, and violations of law infringing on the rights
                                      17 of a disabled person by a municipal agency and its government contractor, acting under color of law.
                                      18            185.    BORENSTEIN’s protected speech and activity occurred in his capacity as a private

                                      19 citizen.
                                      20            186.    In response to BORENSTEIN’s protected speech and activity, TAF, as contractor and

                                      21 agent of CCAC, including through COO SCHOLTEN and/or another of its officers, directors,
                                      22 managers, supervisors, agents, and/or employees, took adverse actions of a governmental nature under
                                      23 the police powers of CCAC that are totally intertwined with government action and vested with
                                      24 government authority under color of law against BORENSTEIN, by preventing him from adopting an
                                      25 animal from TAF and/or from effectively adopting an animal from another Clark County, Nevada
                                      26 shelter and/or rescue organization, in violation of his First Amendment rights.
                                      27            187.    BORENSTEIN’s protected speech and activity was a substantial or motivating factor in

                                      28 the adverse action taken against him, as alleged herein.


                                                                                        31
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 32 of 63




                                       1          188.   As a direct and proximate result of the intentional, malicious, willful, deliberately
                                       2 indifferent, oppressive, and/or reckless conduct of Defendants, and each of them, for this cause of
                                       3 action, BORENSTEIN sustained injury, harm, suffering, mental anguish, and damages, entitling him to
                                       4 compensatory damages, punitive damages, and prospective injunctive and declaratory relief, as allowed
                                       5 by law, according to proof at trial.
                                       6          189.   As a further, direct and proximate result of the intentional, malicious, willful,
                                       7 deliberately indifferent, oppressive, and/or reckless conduct of Defendants, and each of them, for this
                                       8 cause of action, BORENSTEIN has had to retain the services of attorneys in this matter, for which he
                                       9 seeks attorneys’ fees and costs, including under 42 U.S.C. §§ 1983 and 1988 et seq.
                                      10                                                     XI.

                                      11                                    SEVENTH CAUSE OF ACTION

                                      12    42 U.S.C. § 12132 et seq. Violation of the Americans with Disabilities Act and Amendments Act;
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                                                 29 U.S.C. § 794 Violation of Section 504 of the Rehabilitation Act of 1973, as amended
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                                      14           -UNLAWFUL DISCRIMINATION BASED ON BORENSTEIN’S DISABILITIES-

                                      15                                         (Asserted against CCAC)

                                      16          190.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      17 fully set forth herein.
                                      18          191.   CCAC is a public agency of a local government and a political subdivision of the state

                                      19 of Nevada subject to Title II of the ADA, as defined in 42 U.S.C. § 12131(1)(B).
                                      20          192.   Upon information and belief, CCAC is subject to section 504 of the Rehabilitation Act,

                                      21 having received federal financial assistance that it uses to support the activities and services provided
                                      22 by TAF to CCAC, pursuant to a governmental contract between CCAC and TAF.
                                      23          193.   TAF is subject to Title III of the ADA, as its operations affect commerce as a service

                                      24 establishment or social service establishment and is a public accommodation, as defined in 42 U.S.C. §
                                      25 12181(7)(F) and/or (K).
                                      26          194.   At all times relevant hereto, CCAC is required to ensure compliance with its obligations

                                      27 under Title II of the ADA, including those obligations arising from the contracted services provided by
                                      28 TAF, as an instrumentality of CCAC, pursuant to 42 U.S.C. § 12131(1)(A)-(B) and § 12132 and as


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 33 of 63




                                       1 codified at 28 C.F.R. § 35.130(b)(1).
                                       2          195.   Under the ADA’s anti-discrimination provision, codified at 42 U.S.C. § 12132, “[n]o
                                       3 qualified individual with a disability shall, by reason of such disability, be excluded from participation
                                       4 in or be denied the benefits of services, programs, or activities of a public entity, or be subjected to
                                       5 discrimination by any such entity.”
                                       6          196.   CCAC, through its officers, directors, managers, supervisors, agents, and/or employees,
                                       7 including LT. ZAVALA, and through its contractor and agent, TAF, which provided shelter services
                                       8 for CCAC, through its officers, directors, managers, supervisors, agents, and/or employees, including
                                       9 COO SCHOLTEN, discriminated against BORENSTEIN on the basis of his disabilities, as follows:
                                      10             A. When, by placing an insufficient hold on Mana, CCAC failed to ensure that
                                      11          BORENSTEIN’s permanent possession of Mana was protected, thereby preventing
                                      12          BORENSTEIN from reclaiming Mana at the end of BORENSTEIN’s hospitalization;
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                                                     B. When CCAC failed to ensure that BORENSTEIN received actual notice
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                                      14          regarding Mana’s boarding and TAF’s intentions to place Mana for adoption before
                                      15          BORENSTEIN could reclaim him;
                                      16             C. When CCAC failed to consider and ensure that TAF considered BORENSTEIN’s
                                      17          requests for a reasonable accommodation for additional time to hold Mana so that
                                      18          BORENSTEIN could reclaim him, after BORENSTEIN got out of the hospital;
                                      19             D. When CCAC failed to ensure that Mana was safeguarded until BORENSTEIN
                                      20          received notice and an opportunity to be heard;
                                      21             E. When CCAC failed to act upon learning that TAF purportedly called several Las
                                      22          Vegas hospitals in a pretextual effort to document attempts at reaching BORENSTEIN,
                                      23          even though BORENSTEIN was not in Las Vegas and did not have access to a telephone,
                                      24          and CCAC knew that BORENSTEIN was not in Las Vegas;
                                      25             F. When CCAC failed to act upon learning that TAF failed to return Mana to
                                      26          BORENSTEIN, despite that BORENSTEIN had identified Mana as his service animal;
                                      27             G. When CCAC failed to act upon learning TAF told BORENSTEIN that TAF
                                      28          would euthanize Mana before allowing BORENSTEIN to have possession of him;


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 34 of 63




                                       1              H. When CCAC failed to act upon learning TAF failed to make any effort to contact
                                       2          ROE BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5 to inquire whether
                                       3          they would surrender ownership of Mana voluntarily;
                                       4              I. When CCAC failed to act to mitigate BORENSTEIN’s injuries, upon learning
                                       5          TAF failed to advise ROE BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5
                                       6          of the converted adoption and/or otherwise failed to take action to ensure Mana was
                                       7          returned;
                                       8              J. When CCAC abdicated their responsibility and authority to TAF to comply with
                                       9          the ADA and Rehabilitation Act, the State Discrimination Statutes, the Vulnerable
                                      10          Persons Statute, and other legal authorities; and
                                      11              K. When CCAC failed to correct the retaliatory electronic record that prevents
                                      12          BORENSTEIN from adopting another animal from a shelter or rescue organization or to
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                                                  otherwise ensure that BORENSTEIN is not subjected to further discrimination on the
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                                      14          basis of his disabilities.
                                      15          197.    As a result of this discrimination, BORENSTEIN was excluded from participating in the
                                      16 community animal shelter services while he was hospitalized without losing ownership of Mana; was
                                      17 prevented from obtaining a reasonable accommodation to hold Mana for a sufficient period of time
                                      18 while he was hospitalized; and was denied the benefits ordinarily provided to animal owners to recover
                                      19 Mana following a temporary hold.
                                      20          198.    BORENSTEIN seeks a declaration that CCAC violated his rights under the ADA and
                                      21 Rehabilitation Act and that he is the rightful owner of Mana.
                                      22          199.    BORENSTEIN seeks a permanent injunction requiring CCAC to comply with the ADA
                                      23 and Rehabilitation Act in the future, including by ensuring that its officers place a sufficient hold on a
                                      24 hospitalized persons’ animal to enable their owners to reclaim their animals after the owners are
                                      25 discharged and by notifying its contracted animal shelter to hold the animal accordingly; by exercising
                                      26 sufficient oversight over its contracted shelter to ensure the shelter’s compliance under the ADA and
                                      27 Rehabilitation Act; by ensuring that its contracted shelter engages in the interactive process when a
                                      28 reasonable accommodation is requested by a disabled person; by ensuring that, if an adoption is


                                                                                         34
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 35 of 63




                                       1 completed in violation of the ADA, the adoptive party is notified of the error, and the contracted shelter
                                       2 makes reasonable efforts to reclaim the animal; and by taking effective efforts to ensure that Mana is
                                       3 returned to BORENSTEIN.
                                       4          200.   As a direct and proximate result of the unlawful, intentional discrimination, for this
                                       5 cause of action, BORENSTEIN sustained injury, harm, suffering, mental anguish, and damages,
                                       6 entitling him to compensatory damages and any other appropriate equitable relief, as allowed by law,
                                       7 according to proof at trial.
                                       8          201.   As a further, direct and proximate result of the unlawful, intentional discrimination, for
                                       9 this cause of action, BORENSTEIN has had to retain the services of attorneys in this matter, for which
                                      10 he seeks attorneys’ fees and costs, including under 42 U.S.C. §§ 1983 and 1988 et seq.
                                      11                                                     XII.
                                      12                                     EIGHTH CAUSE OF ACTION
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                                      13    42 U.S.C. § 12182 et seq. Violation of the Americans with Disabilities Act and Amendments Act
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                                      14           -UNLAWFUL DISCRIMINATION BASED ON BORENSTEIN’S DISABILITIES-

                                      15                           (Asserted against SUNRISE HOSPITAL and TAF)

                                      16          202.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      17 fully set forth herein.
                                      18          203.   SUNRISE HOSPITAL is subject to Title III of the ADA, as its operations affect

                                      19 commerce as a hospital and is a public accommodation, as defined in 42 U.S.C. § 12181(7)(F).
                                      20          204.   TAF is subject to Title III of the ADA, as its operations affect commerce as a service

                                      21 establishment or social service establishment and is a public accommodation, as defined in 42 U.S.C. §
                                      22 12181(7)(F) and/or (K).
                                      23          205.   Under the ADA’s anti-discrimination provision, codified at 42 U.S.C. § 12182(a), “[n]o

                                      24 individual shall be discriminated against on the basis of disability, in the full and equal enjoyment of
                                      25 the goods, services, facilities, privileges, advantages, or accommodations of any place of public
                                      26 accommodation by any person who owns, leases (or leases to), or operates a place of public
                                      27 accommodation.”
                                      28          206.    Before BORENSTEIN was sedated on May 12, 2019, BORENSTEIN informed


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 36 of 63




                                       1 SUNRISE HOSPITAL, directly or indirectly, through its officers, directors, managers, supervisors,
                                       2 agents, and/or employees, including NURSE PASTERNAK, that his service animal was in his car and
                                       3 that he could not make arrangements for a family or friend to provide for Mana’s care.
                                       4          207.   In response, SUNRISE HOSPITAL assumed the duty of finding a provider to board
                                       5 Mana while their patient, BORENSTEIN, was hospitalized, as permitted in the recommendations
                                       6 regarding service animals, published by the United States Department of Justice.
                                       7          208.   This duty of finding a provider to board Mana was part of SUNRISE HOSPITAL’s care
                                       8 of patient BORENSTEIN, who was incapacitated after having been sedated, and SUNRISE
                                       9 HOSPITAL assumed this duty through a voluntary or involuntary bailment of valuable property.
                                      10          209.   In the exercise of their duty of patient care, SUNRISE HOSPITAL failed to exercise a
                                      11 reasonable duty of care, before deciding to place and entrust Mana to CCAC for subsequent boarding at
                                      12 TAF’s Lied Animal Shelter, without ensuring that Mana would be safeguarded for a period of time
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                                      13 sufficient to enable BORENSTEIN to recover possession of Mana, once BORENSTEIN was
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                                      14 discharged from hospital care and/or that BORENSTEIN was safeguarded against risk of abuse from
                                      15 theft and/or misappropriation of Mana.
                                      16          210.   In the exercise of their duty of patient care, SUNRISE HOSPITAL failed to exercise a
                                      17 reasonable duty of care, after placing and entrusting Mana to CCAC, including after BORENSTEIN
                                      18 was transferred to another hospital, by communicating with CCAC and/or TAF, to ensure that Mana
                                      19 was safeguarded for a period of time sufficient to enable BORENSTEIN to recover possession of
                                      20 Mana, once BORENSTEIN was discharged from hospital care and/or that BORENSTEIN was
                                      21 safeguarded against risk of abuse from theft and/or misappropriation of Mana.
                                      22          211.   As a result of these failures, SUNRISE HOSPITAL, through its officers, directors,
                                      23 managers, supervisors, agents, and/or employees, including NURSE PASTERNAK, discriminated
                                      24 against their patient, BORENSTEIN, on the basis of his disabilities, by failing to provide him with a
                                      25 reasonable accommodation for the sufficient hold of Mana, knowing that their patient was
                                      26 incapacitated, was in extremis, and was unable to act for himself.
                                      27          212.    As a further result of this failure, BORENSTEIN was denied the full and equal
                                      28 enjoyment of the goods, services, facilities, privileges, and advantages provided to other patients at


                                                                                       36
                                            Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 37 of 63




                                       1 SUNRISE HOSPITAL.
                                       2         213.   TAF, through its officers, directors, managers, supervisors, agents, and/or employees,
                                       3 including COO SCHOLTEN, discriminated against BORENSTEIN on the basis of his disabilities,
                                       4 including as follows:
                                       5            A. When TAF failed to ensure that BORENSTEIN received actual notice regarding
                                       6         Mana’s boarding and TAF’s intentions to place Mana for adoption before BORENSTEIN
                                       7         could reclaim him;
                                       8            B. When TAF failed to consider BORENSTEIN’s requests for a reasonable
                                       9         accommodation for additional time to hold Mana so that BORENSTEIN could reclaim
                                      10         him, after he got out of the hospital;
                                      11            C. When TAF failed to ensure that Mana was safeguarded until BORENSTEIN
                                      12         received notice and an opportunity to be heard;
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                                                    D. When TAF purportedly called several Las Vegas hospitals in a pretextual effort to
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                                      14         document attempts to reach BORENSTEIN, even though TAF knew that BORENSTEIN
                                      15         was not in Las Vegas, that he did not have access to a telephone, and that such attempts
                                      16         were inadequate to constitute actual or constructive notice;
                                      17            E. When TAF failed to return Mana to BORENSTEIN, including when he identified
                                      18         Mana as his service animal to TAF;
                                      19            F. When TAF told BORENSTEIN that TAF would euthanize Mana before allowing
                                      20         BORENSTEIN to have possession of him, because, in its non-medical opinion,
                                      21         BORENSTEIN was too sick to care for Mana;
                                      22            G. When TAF failed to make any effort to contact ROE BUSINESS ENTITIES 1-5
                                      23         and/or DOE INDIVIDUALS 1-5 to inquire whether they would surrender ownership of
                                      24         Mana voluntarily;
                                      25            H. When TAF failed to mitigate the injuries to BORENSTEIN by not informing
                                      26         ROE BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5 of the converted
                                      27         adoption and/or otherwise failed to take action to reclaim Mana; and
                                      28            I. When TAF failed to correct the retaliatory electronic record that prevents


                                                                                          37
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 38 of 63




                                       1          BORENSTEIN from adopting another animal from a shelter or rescue organization or to
                                       2          otherwise ensure that BORENSTEIN is not subjected to further discrimination on the
                                       3          basis of his disabilities.
                                       4          214.    As a result of the discrimination, BORENSTEIN was excluded from participating in
                                       5 community animal shelter services while he was hospitalized without losing ownership of Mana; was
                                       6 prevented from obtaining a reasonable accommodation to hold Mana for a sufficient period of time
                                       7 while he was hospitalized; and was denied the benefits ordinarily provided to animal owners to recover
                                       8 Mana following a temporary hold, including temporary fostering by the KEPPT program.
                                       9          215.    BORENSTEIN seeks a declaration that SUNRISE HOSPITAL violated his rights under
                                      10 the ADA.
                                      11          216.    BORENSTEIN seeks a permanent injunction requiring SUNRISE HOSPITAL to
                                      12 comply with the ADA in the future, by ensuring that if he and/or similarly-situated disabled individuals
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                                      13 are unable to care for their animals, SUNRISE HOSPITAL must exercise a reasonable duty of care to
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                                      14 ensure that such animals are adequately boarded and safeguarded so as not to become converted
                                      15 property while the animal’s owner is hospitalized.
                                      16          217.    BORENSTEIN seeks a declaration that TAF violated his rights under the ADA and that
                                      17 he is the rightful owner of Mana.
                                      18          218.    BORENSTEIN seeks a permanent injunction requiring TAF to comply with the ADA in
                                      19 the future, including by ensuring that hospitalized persons receive actual notice regarding their animals
                                      20 held at Lied Animal Shelter; that hospitalized persons’ animals are held for a reasonable period of time
                                      21 to enable their owners to reclaim them when the owners are incapacitated; that TAF is required to
                                      22 engage in the interactive process when a reasonable accommodation is requested by such persons; that,
                                      23 if a converted adoption is completed in violation of the ADA, TAF notifies the adoptive part(ies) of the
                                      24 error and liability and takes reasonable efforts to reclaim the animal; and that Mana is returned to
                                      25 BORENSTEIN.
                                      26          219.    As a direct and proximate result of the unlawful, intentional discrimination, for this
                                      27 cause of action, BORENSTEIN sustained injury, harm, suffering, mental anguish, and damages,
                                      28 entitling him to equitable relief, as allowed by law, according to proof at trial.


                                                                                          38
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 39 of 63




                                       1          220.    As a further, direct and proximate result of the unlawful, intentional discrimination, for
                                       2 this cause of action, BORENSTEIN has had to retain the services of attorneys in this matter, for which
                                       3 he seeks attorneys’ fees and costs, including under 42 U.S.C. §§ 1983 and 1988 et seq.
                                       4                                                        XIII.

                                       5                                        NINTH CAUSE OF ACTION

                                       6     42 U.S.C. § 12203 et seq. Violation of the Americans with Disabilities Act and Amendment Act

                                       7                 -UNLAWFUL DISCRIMINATION, HARASSMENT, AND RETALIATION
                                                                  BASED ON BORENSTEIN’S DISABILITIES-
                                       8
                                       9                     (Asserted against COO SCHOLTEN, in her individual capacity,
                                                      and, for prospective injunctive and declaratory relief, against CCAC and TAF
                                      10                             and COO SCHOLTEN, in her official capacity)

                                      11          221.    BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      12 fully set forth herein.
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                                      13          222.    Under the ADA’s anti-retaliation provision, codified at 42 U.S.C. § 12203(a), “[n]o
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                                      14 person shall discriminate against any individual because such individual has opposed any act or
                                      15 practice made unlawful by this chapter . . . .”
                                      16          223.    Unlike other provisions of the ADA, this anti-retaliation provision extends liability for

                                      17 retaliation to any “person,” which is defined in 42 U.S.C. § 12111(7) and 42 U.S.C. § 2000e(a) to
                                      18 “include one or more individuals.” 1
                                      19          224.    Accordingly, this claim for unlawful retaliation may properly be maintained against, and

                                      20 is maintained against, CCAC, as a public agency of a local government and a political subdivision of
                                      21 the state of Nevada subject to the ADA that is required to ensure compliance with its obligations under
                                      22 the ADA, including those arising from the contracted services provided by TAF, for which services
                                      23 CCAC receives federal funding, and TAF, but also against COO SCHOLTEN, individually.
                                      24          225.    At all relevant times herein, BORENSTEIN engaged in conduct amounting to “protected

                                      25
                                      26          1
                                                          See also Minkley v. Eureka City Sch., No. 17-cv-3241-PJH, 2017 U.S. Dist. LEXIS
                                      27 161338, at *16 (N.D. Cal. Sep. 29, 2017) (individuals, not merely businesses, can be sued under the
                                      28 anti-retaliation provisions of the ADA).


                                                                                           39
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 40 of 63




                                       1 activity” under the anti-retaliation provisions of the ADA, including:
                                       2              A. In June 2019, when BORENSTEIN contacted elected public officials, community
                                       3          leaders, and animal rights organizations, including the Humane Network, seeking
                                       4          assistance in having Mana returned to him;
                                       5              B. On June 10, 2019, when BORENSTEIN filed the Complaint commencing this
                                       6          action; and
                                       7              C. On June 20, 2019, when BORENSTEIN filed a motion for preliminary injunction
                                       8          in this matter, seeking the return of Mana.
                                       9          226.   Thereafter, BORENSTEIN suffered adverse actions by CCAC, TAF, and COO
                                      10 SCHOLTEN, such as:
                                      11              A. When TAF and COO SCHOLTEN refused to allow BORENSTEIN to adopt an
                                      12          animal from TAF; and
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                                                      B. When, upon information and belief, TAF, through COO SCHOLTEN and/or
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                                      14          another officer, manager, supervisor, agent, or employee, without justification, placed a
                                      15          warning in the electronic files accessible by CCAC, and other shelters and/or rescue
                                      16          organizations not to allow BORENSTEIN to adopt an animal from them.
                                      17          227.   There is a causal link between BORENSTEIN’s protected activity and these adverse
                                      18 actions that he suffered.
                                      19          228.   TAF’s actions through COO SCHOLTEN and/or another officer, manager, supervisor,
                                      20 agent, or employee in preventing BORENSTEIN from adopting another animal were done in retaliation
                                      21 for his participation in such protected activities relating to his disabilities, when these defendants
                                      22 subjected him to the aforementioned adverse actions.
                                      23          229.   CCAC, TAF, and COO SCHOLTEN unlawfully discriminated against BORENSTEIN
                                      24 by retaliating against him, a disabled individual, as described herein, and violated the anti-retaliation
                                      25 provisions of the ADA, including as codified at 42 U.S.C. § 12203.
                                      26          230.   As a direct and proximate result of the unlawful, intentional discrimination and
                                      27 retaliation alleged in this cause of action, BORENSTEIN sustained injury, harm, suffering, mental
                                      28 anguish, and damages, entitling him to compensatory damages, punitive damages, and prospective


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                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 41 of 63




                                       1 injunctive and declaratory relief, as allowed by law, according to proof at trial.
                                       2           231.   As a further, direct and proximate result of the unlawful, intentional discrimination and
                                       3 retaliation, alleged in this cause of action, BORENSTEIN has had to retain the services of attorneys in
                                       4 this matter, for which he seeks attorneys’ fees and costs, including under 42 U.S.C. §§ 1983 and 1988
                                       5 et seq.
                                       6                                            —STATE CLAIMS—

                                       7                                                      XIV.

                                       8                                       TENTH CAUSE OF ACTION

                                       9      Nevada Revised Statute § 426.790 et seq. Violation of the Persons with Disabilities Chapter

                                      10             -UNLAWFUL INTERFERENCE WITH THE USE OF A SERVICE ANIMAL -

                                      11                  (Asserted against CCAC, TAF, LT. ZAVALA, and COO SCHOLTEN)

                                      12           232.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though
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                                      13 fully set forth herein.
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                                      14           233.   The state of Nevada has a public policy to protect the welfare, prosperity, health and

                                      15 peace of all the people of the State and to foster the right of all persons reasonably to seek and be
                                      16 granted services in places of public accommodation without discrimination, distinction, or restriction
                                      17 because of disability, pursuant to Nevada Revised Statute § 233.010(2).
                                      18           234.   The state of Nevada enacted legislation that shall be liberally construed to effect the

                                      19 objects and purposes for persons with disabilities, including to relieve such persons from the stress of
                                      20 poverty and to encourage and assist them in their efforts to render themselves more self-supporting,
                                      21 pursuant to Nevada Revised Statutes § 426.010 and § 426.020.
                                      22           235.   LT. ZAVALA and CCAC, through its officers, managers, supervisors, agents, and/or

                                      23 employees, including LT. ZAVALA, violated Nevada Revised Statutes § 426.790 when, without legal
                                      24 justification, they failed to ensure that the ownership of BORENSTEIN’s service dog was not
                                      25 converted by its government contractor, TAF, thereby interfering with BORENSTEIN’s use of Mana to
                                      26 assist him with his disabilities and obstructing or otherwise jeopardizing BORENSTEIN’s safety.
                                      27           236.   COO SCHOLTEN and TAF, through its officers, managers, supervisors, agents, and/or

                                      28 employees, including COO SCHOLTEN, violated Nevada Revised Statutes § 426.790 when, without


                                                                                         41
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 42 of 63




                                       1 legal justification, they converted the ownership of Mana to TAF and then adopted Mana to ROE
                                       2 BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5, thereby interfering with BORENSTEIN’s
                                       3 use of Mana to assist him with his disabilities and obstructing or otherwise jeopardizing
                                       4 BORENSTEIN’s safety.
                                       5          237.   Thereafter, CCAC, TAF, LT. ZAVALA, and COO SCHOLTEN failed to correct the
                                       6 unlawful adoption or otherwise failed to make any effort to restore the ownership of Mana to
                                       7 BORENSTEIN.
                                       8          238.   As a direct and proximate result of the unlawful, intentional discrimination alleged in
                                       9 this cause of action, CCAC, TAF, LT. ZAVALA, and COO SCHOLTEN are civilly liable to
                                      10 BORENSTEIN for sustained injury, harm, suffering, mental anguish, and other compensatory damages,
                                      11 for treble punitive damages in an amount equal to or greater than $750.00 to be decided by a jury, and
                                      12 for prospective injunctive and declaratory relief, as allowed by Nevada Revised Statute § 426.820,
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                                      13 according to proof at trial.
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                                      14          239.    As a further, direct and proximate result of the unlawful, intentional discrimination
                                      15 alleged in this cause of action, BORENSTEIN has had to retain the services of attorneys in this matter,
                                      16 for which he seeks reasonable attorneys’ fees, as allowed by Nevada Revised Statute § 426.820, as
                                      17 determined by the Court.
                                      18                                                    XV.

                                      19                                    ELEVENTH CAUSE OF ACTION

                                      20       Nevada Revised Statute § 651.070 et seq. Violation of the Public Accommodations Chapter

                                      21       - UNLAWFUL DEPRIVATION OF, INTERFERENCE WITH, AND PUNISHMENT FOR
                                                               EXERCISING RIGHTS AND PRIVILEGES-
                                      22
                                      23                                (Asserted against TAF and COO SCHOLTEN)

                                      24          240.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      25 fully set forth herein.
                                      26          241.   The state of Nevada has a public policy to protect the welfare, prosperity, health and

                                      27 peace of all the people of the State and to foster the right of all persons reasonably to seek and be
                                      28 granted services in places of public accommodation without discrimination, distinction, or restriction


                                                                                       42
                                               Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 43 of 63




                                       1 because of disability, pursuant to Nevada Revised Statute § 233.010(2).
                                       2          242.   The state of Nevada enacted legislation to ensure that all persons are entitled to the full
                                       3 and equal enjoyment of the goods, services, facilities, privileges, advantages, and accommodations of
                                       4 any place of public accommodation, without discrimination or segregation on the ground of disability,
                                       5 pursuant to Nevada Revised Statutes § 651.070.
                                       6          243.   COO SCHOLTEN and TAF, through its officers, managers, supervisors, agents, and/or
                                       7 employees, including COO SCHOLTEN, violated Nevada Revised Statutes § 651.090(1)(b) when they
                                       8 intimidated, threatened, coerced, or attempted to intimidate, threaten, or coerce BORENSTEIN from
                                       9 exercising his right to pursue recovery of Mana through litigation and/or by seeking assistance from
                                      10 private and public officials, including by threatening to have Mana euthanized rather than returning him
                                      11 to BORENSTEIN.
                                      12          244.   COO SCHOLTEN and TAF, through its officers, managers, supervisors, agents, and/or
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                                      13 employees, including COO SCHOLTEN, violated Nevada Revised Statutes § 651.090(1)(c) when they
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                                      14 punished or attempted to punish BORENSTEIN for exercising his right to pursue recovery of Mana
                                      15 through litigation and/or by seeking assistance from private and public officials, including by placing a
                                      16 warning about BORENSTEIN in a database accessible to other shelters, law enforcement, and, upon
                                      17 information and belief, rescue organizations, encouraging them not to adopt an animal to
                                      18 BORENSTEIN.
                                      19          245.   As a direct and proximate result of the unlawful, intentional and retaliatory
                                      20 discrimination alleged in this cause of action, TAF and COO SCHOLTEN are civilly liable to
                                      21 BORENSTEIN for sustained injury, harm, suffering, mental anguish, and other compensatory damages
                                      22 and for prospective injunctive and declaratory relief, as allowed by Nevada Revised Statute §
                                      23 651.090(2)(a), according to proof at trial.
                                      24          246.   As a further, direct and proximate result of the unlawful, intentional and retaliatory
                                      25 discrimination alleged in this cause of action, BORENSTEIN has had to retain the services of attorneys
                                      26 in this matter, for which he seeks costs and reasonable attorneys’ fees, as allowed by Nevada Revised
                                      27 Statute § 651.090(2)(b).
                                      28 ///


                                                                                        43
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 44 of 63




                                       1                                                     XVI.
                                       2                                    TWELFTH CAUSE OF ACTION
                                       3                                   Negligence and/or Gross Negligence

                                       4                       (Asserted against SUNRISE HOSPITAL, CCAC, TAF,
                                                            NURSE PASTERNAK, LT. ZAVALA, and COO SCHOLTEN)
                                       5
                                       6          247.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                       7 fully set forth herein.
                                       8          248.   Defendants and each of them owed a legal duty to exercise reasonable care and ordinary

                                       9 prudence that a reasonably prudent hospital, shelter and government contractor, government entity,
                                      10 and/or professional or government actor, respectively, would exercise under the same circumstances,
                                      11 while performing any acts that could foreseeably harm BORENSTEIN, including when undertaking to
                                      12 safeguard and board Mana, while BORENSTEIN was hospitalized and unable to care for Mana
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                                      13 himself.
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                                      14          249.   Defendants and each of them failed to exercise that reasonable care, breaching that legal

                                      15 duty owed to BORENSTEIN, as described herein, which breaches were the legal cause of
                                      16 BORENSTEIN’s injuries, and BORENSTEIN suffered resulting damages, in an amount to be proven at
                                      17 trial.
                                      18          250.   NURSE PASTERNAK and SUNRISE HOSPITAL, through its officers, managers,

                                      19 supervisors, agents, and/or employees, including NURSE PASTERNAK, breached their legal duties to
                                      20 arrange for Mana’s board by negligently failing to exercise the degree of care that an ordinarily careful
                                      21 and reasonably prudent professional and hospital, respectively, would exercise, under the same or
                                      22 similar circumstances, including by ensuring that CCAC would hold Mana for a period of time
                                      23 sufficient to enable their patient, BORENSTEIN, to reclaim Mana, after BORENSTEIN was released
                                      24 from the hospital, and to have follow-up communications with CCAC and/or TAF to ensure that
                                      25 BORENSTEIN’s property remained safeguarded, during the time in which BORENSTEIN was
                                      26 hospitalized.
                                      27          251.   LT. ZAVALA and CCAC, through its officers, managers, supervisors, agents, and/or

                                      28 employees, including LT. ZAVALA, breached their legal duties by negligently failing to exercise the


                                                                                        44
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 45 of 63




                                       1 degree of care that an ordinarily careful and reasonably prudent government actor and government
                                       2 entity, respectively, would exercise, under the same or similar circumstances, including by placing a
                                       3 hold on Mana for a period of time sufficient to enable BORENSTEIN to reclaim Mana, after
                                       4 BORENSTEIN was released from the hospital, and to have follow-up communications with TAF to
                                       5 ensure that BORENSTEIN’s property remained safeguarded, during the time in which BORENSTEIN
                                       6 was hospitalized.
                                       7           252.   COO SCHOLTEN and TAF, through its officers, managers, supervisors, agents, and/or
                                       8 employees, including COO SCHOLTEN, breached their legal duties by failing to exercise the degree of
                                       9 care that an ordinarily careful and reasonably prudent professional and shelter and government
                                      10 contractor, respectively, would exercise, under the same or similar circumstances, including by holding
                                      11 Mana for a period of time sufficient to enable BORENSTEIN to reclaim Mana, after BORENSTEIN
                                      12 was released from the hospital, and to have and/or heed communications with CCAC to ensure that
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                                      13 BORENSTEIN’s property remained safeguarded, during the time in which BORENSTEIN was
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                                      14 hospitalized.
                                      15           253.   When engaging in their culpable conduct described herein, Defendants, and each of
                                      16 them, were not only negligent, but they were grossly negligent, as they failed to exercise even the
                                      17 slightest amount of care, with a conscious disregard of the rights or safety of BORENSTEIN.
                                      18           254.   When engaging in their culpable conduct described herein, the Defendants sued in this
                                      19 cause of action, and each of them, acted with malice, express or implied, in that Defendants engaged in
                                      20 despicable conduct by virtue of the egregious nature of their failures to safeguard Mana for
                                      21 BORENSTEIN, and these Defendants had a conscious disregard of the rights or safety of
                                      22 BORENSTEIN and of vulnerable persons similarly situated to BORENSTEIN.
                                      23           255.   Defendants exhibited a conscious disregard of BORENSTEIN’s rights or safety when
                                      24 they knew of the probable harmful consequences of their wrongful acts of neglecting to safeguard
                                      25 Mana while BORENSTEIN was hospitalized, which probable harmful consequences included the loss
                                      26 of property and actual physical and mental injuries suffered by BORENSTEIN, which Defendants
                                      27 recklessly, willfully, and/or deliberately failed to act to avoid.
                                      28           256.   Accordingly, BORENSTEIN is entitled to recover punitive and exemplary damages, as


                                                                                          45
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 46 of 63




                                       1 allowed by law, in an amount to be determined at trial.
                                       2           257.   As a further result of the culpable conduct by Defendants, as alleged in this cause of
                                       3 action, BORENSTEIN has had to retain the services of attorneys in this matter, for which he seeks
                                       4 costs and reasonable attorneys’ fees.
                                       5                                                      XVII.
                                       6                                   THIRTEENTH CAUSE OF ACTION
                                       7                              Negligent Training, Supervision, and Retention

                                       8                       (Asserted against SUNRISE HOSPITAL, CCAC, and TAF)

                                       9           258.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      10 fully set forth herein.
                                      11           259.   On information and belief, at all times relevant hereto, SUNRISE HOSPITAL, through

                                      12 its officers, managers, supervisors, agents, and/or employees, was responsible for training, supervising,
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                                      13 and retaining employees, and each of them, including training and supervision pertaining to NURSE
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                                      14 PASTERNAK for:
                                      15              A. complying with standards and protocols of SUNRISE HOSPITAL, including its

                                      16           policies and procedures for safeguarding assets, the ADA, the State Discrimination

                                      17           Statutes, the Vulnerable Persons Statute, and other requirements; and

                                      18              B. protecting and otherwise not violating a patient’s legal rights, including those

                                      19           rights of BORENSTEIN described herein.

                                      20           260. On information and belief, at all times relevant hereto, SUNRISE HOSPITAL, through

                                      21 its officers, managers, supervisors, agents, and/or employees, and each of them, owed a general duty to
                                      22 use reasonable care in the training, supervision, and retention of such employees, including NURSE
                                      23 PASTERNAK, to make sure that the employees are fit for their positions and to prevent harm to third
                                      24 parties, including BORENSTEIN, by the employees’ tortious or wrongful conduct, of the type alleged
                                      25 herein.
                                      26           261. On information and belief, at all times relevant hereto, SUNRISE HOSPITAL, through

                                      27 its officers, managers, supervisors, agents, and/or employees, and each of them, breached this duty of
                                      28 care when they placed and retained NURSE PASTERNAK in the position of communicating with


                                                                                         46
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 47 of 63




                                       1 CCAC and giving custody of Mana to CCAC, without properly training and supervising NURSE
                                       2 PASTERNAK, whom they knew or should have known would fail to safeguard property, including
                                       3 Mana, and, in the position in which she was placed and retained, NURSE PASTERNAK could harm
                                       4 someone, including BORENSTEIN, as alleged herein.
                                       5          262.    On information and belief, SUNRISE HOSPITAL, through its officers, managers,
                                       6 supervisors, agents, and/or employees, and each of them, were negligent in the training, supervision,
                                       7 and retention of NURSE PASTERNAK, including training in the area of safeguarding valuable assets
                                       8 the ADA, the State Discrimination Statutes, the Vulnerable Persons Statute, and other requirements,
                                       9 which negligence caused the harm and injuries to BORENSTEIN, as alleged herein.
                                      10          263.    On information and belief, at all times relevant hereto, CCAC, through its officers,
                                      11 managers, supervisors, agents, and/or employees, was responsible for training, supervising, and
                                      12 retaining employees, and each of them, including training and supervision pertaining to LT. ZAVALA,
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                                      13 and its government contractor, TAF, for:
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                                      14              A. complying with standards and protocols of CCAC, including its policies and
                                      15          procedures for impounding and holding animals, the county ordinances pertaining to
                                      16          animals, the ADA, the State Discrimination Statutes, the Vulnerable Persons Statute, and
                                      17          other requirements; and
                                      18              B. protecting and otherwise not violating an animal owner’s legal rights, including
                                      19          his constitutional rights, and including those rights of BORENSTEIN described herein.
                                      20          264.    On information and belief, at all times relevant hereto, CCAC, through its officers,
                                      21 managers, supervisors, agents, and/or employees, and each of them, owed a general duty to use
                                      22 reasonable care in the training, supervision, and retention of such employees, including LT. ZAVALA,
                                      23 to make sure that the employees are fit for their positions and to prevent harm to third parties, including
                                      24 BORENSTEIN, by the employees’ tortious or wrongful conduct, of the type alleged herein.
                                      25          265.    On information and belief, at all times relevant hereto, CCAC, through its officers,
                                      26 managers, supervisors, agents, and/or employees, and each of them, breached this duty of care when
                                      27 they placed and retained LT. ZAVALA and TAF in the position of communicating with one another
                                      28 and placed Mana in the custody of TAF, without properly training and supervising LT. ZAVALA and


                                                                                         47
                                            Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 48 of 63




                                       1 TAF, whom they knew or should have known would fail to safeguard property, including Mana, and, in
                                       2 the position in which LT. ZAVALA and TAF were placed and retained, CCAC knew they could harm
                                       3 someone, including BORENSTEIN, as alleged herein.
                                       4           266.   On information and belief, CCAC, through its officers, managers, supervisors, agents,
                                       5 and/or employees, and each of them, were negligent in the training, supervision, and retention of LT.
                                       6 ZAVALA and in the oversight of TAF, including training in the area of safeguarding assets,
                                       7 constitutional rights, the ADA, the State Discrimination Statutes, the Vulnerable Persons Statute, and
                                       8 other requirements, which negligence caused the harm and injuries to BORENSTEIN, as alleged
                                       9 herein.
                                      10           267.   On information and belief, at all times relevant hereto, TAF, through its officers,
                                      11 managers, supervisors, agents, and/or employees, was responsible for training, supervising, and
                                      12 retaining employees, and each of them, including training and supervision pertaining to COO
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                                      13 SCHOLTEN for:
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                                      14              A. complying with standards and protocols of CCAC and TAF, including those
                                      15           policies and procedures for impounding and holding animals, the county ordinances
                                      16           pertaining to animals, the ADA, the State Discrimination Statutes, the Vulnerable Persons
                                      17           Statute, and other requirements; and
                                      18              B. protecting and otherwise not violating an animal owner’s legal rights, including his
                                      19           constitutional rights, and including those rights of BORENSTEIN described herein.
                                      20           268.   On information and belief, at all times relevant hereto, TAF, through its officers,
                                      21 managers, supervisors, agents, and/or employees, and each of them, owed a general duty to use
                                      22 reasonable care in the training, supervision, and retention of such employees, including COO
                                      23 SCHOLTEN, to make sure that the employees are fit for their positions and to prevent harm to third
                                      24 parties, including BORENSTEIN, by the employees’ tortious or wrongful conduct, of the type alleged
                                      25 herein.
                                      26           269.   On information and belief, at all times relevant hereto, TAF, through its officers,
                                      27 managers, supervisors, agents, and/or employees, and each of them, breached this duty of care when
                                      28 they placed and retained COO SCHOLTEN in the position of communicating or supervising


                                                                                          48
                                               Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 49 of 63




                                       1 communications with CCAC regarding Mana’s placement in the custody of TAF, without properly
                                       2 training and supervising COO SCHOLTEN, whom they knew or should have known, would fail to
                                       3 safeguard property, including Mana, and would retaliate against an animal’s owner, and, in the position
                                       4 she was placed in and retained, COO SCHOLTEN could harm someone, including BORENSTEIN, as
                                       5 alleged herein.
                                       6          270.     On information and belief, TAF, through its officers, managers, supervisors, agents,
                                       7 and/or employees, and each of them, were negligent in the training, supervision, and retention of COO
                                       8 SCHOLTEN, including training in the area of safeguarding assets, constitutional rights, the ADA, the
                                       9 State Discrimination Statutes, the Vulnerable Persons Statute, and other requirements, which
                                      10 negligence caused the harm and injuries to BORENSTEIN, as alleged herein.
                                      11          271.     When engaging in their culpable conduct described herein, Defendants sued in this cause
                                      12 of action, and each of them, acted with malice, express or implied, in that Defendants engaged in
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                                      13 despicable conduct by virtue of the egregious nature of their failures to properly train, supervise, and
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                                      14 retain the individuals responsible for safeguarding Mana and by their failures to ensure that
                                      15 BORENSTEIN’s rights were not violated, and these Defendants had a conscious disregard of the rights
                                      16 or safety of BORENSTEIN and of vulnerable persons similarly situated to BORENSTEIN.
                                      17          272.     Defendants exhibited a conscious disregard of BORENSTEIN’s rights or safety when
                                      18 they knew of the probable harmful consequences of their wrongful acts of neglecting to properly train,
                                      19 supervise, and retain the individuals responsible for safeguarding Mana while BORENSTEIN was
                                      20 hospitalized and failing to ensure that BORENSTEIN’s rights were not violated, the probable harmful
                                      21 consequences of which included the loss of property and actual physical and mental injuries suffered by
                                      22 BORENSTEIN that Defendants recklessly, willfully, and/or deliberately failed to act to avoid.
                                      23          273.     Accordingly, BORENSTEIN is entitled to recover punitive and exemplary damages, as
                                      24 allowed by law, in an amount to be determined at trial.
                                      25          274.     As a further result of the culpable conduct by Defendants, as alleged in this cause of
                                      26 action, BORENSTEIN has had to retain the services of attorneys in this matter, for which he seeks
                                      27 costs and reasonable attorneys’ fees.
                                      28 ///


                                                                                         49
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 50 of 63




                                       1                                                  XVIII.
                                       2                                  FOURTEENTH CAUSE OF ACTION
                                       3     Nevada Revised Statute § 41.1395 - Unlawful Injury or Loss Suffered by a Vulnerable Person

                                       4                           - NEGLECT OR ABUSE OF A VULNERABLE PERSON-

                                       5                       (Asserted against SUNRISE HOSPITAL, CCAC, TAF,
                                                            NURSE PASTERNAK, LT. ZAVALA, and COO SCHOLTEN)
                                       6
                                       7          275.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                       8 fully set forth herein.
                                       9          276.   BORENSTEIN is a vulnerable person, within the meaning of Nevada Revised Statute §

                                      10 41.1395(e).
                                      11          277.   Beginning on May 12, 2019, NURSE PASTERNAK and SUNRISE HOSPITAL,

                                      12 through its officers, managers, supervisors, agents, and/or employees, including NURSE
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                                      13 PASTERNAK, assumed a legal responsibility and/or a contractual obligation to care for
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                                      14 BORENSTEIN, as their patient, including through a voluntary or involuntary bailment, requiring them
                                      15 to arrange for board of BORENSTEIN’s service animal when BORENSTEIN was sedated, for the
                                      16 duration when BORENSTEIN was hospitalized and unable to care for Mana himself.
                                      17          278.   Beginning on May 12, 2019, LT. ZAVALA and CCAC, through its officers, managers,

                                      18 supervisors, agents, and/or employees, including LT. ZAVALA, assumed a legal responsibility and/or a
                                      19 contractual obligation, including through a voluntary or involuntary bailment, to care for
                                      20 BORENSTEIN by taking possession of BORENSTEIN’s service animal from NURSE PASTERNAK
                                      21 and/or SUNRISE HOSPITAL, while presently knowing that BORENSTEIN was then hospitalized and
                                      22 sedated and, thus, a vulnerable person.
                                      23          279.   Beginning on May 12, 2019,          COO SCHOLTEN and TAF, through its officers,

                                      24 managers, supervisors, agents, and/or employees, including COO SCHOLTEN, assumed a legal
                                      25 responsibility and/or a contractual obligation, including through a voluntary or involuntary bailment, to
                                      26 care for BORENSTEIN by taking possession of BORENSTEIN’s service animal from officers,
                                      27 managers, supervisors, agents, and/or employees of CCAC, while presently knowing that
                                      28 BORENSTEIN was then hospitalized and sedated and, thus, a vulnerable person.


                                                                                        50
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 51 of 63




                                       1          280.   NURSE PASTERNAK and SUNRISE HOSPITAL breached their legal responsibilities
                                       2 and/or contractual obligations to arrange for Mana’s board by failing to exercise the degree of care that
                                       3 an ordinarily careful and reasonably prudent professional and hospital, respectively, would exercise,
                                       4 under the same or similar circumstances, including by failing to ensure that CCAC would hold Mana
                                       5 for a period of time sufficient to enable BORENSTEIN to reclaim Mana, after BORENSTEIN was
                                       6 released from the hospital, and to have follow-up communications with CCAC and/or TAF to ensure
                                       7 that BORENSTEIN’s property remained safeguarded, during the time in which BORENSTEIN was
                                       8 hospitalized.
                                       9          281.   LT. ZAVALA and CCAC breached their legal responsibilities and/or contractual
                                      10 obligations by failing to exercise the degree of care that an ordinarily careful and reasonably prudent
                                      11 government actor and government entity, respectively, would exercise, under the same or similar
                                      12 circumstances, including by placing a hold on Mana for a period of time sufficient to enable
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                                      13 BORENSTEIN to reclaim Mana, after BORENSTEIN was released from the hospital, and to have
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                                      14 follow-up communications with TAF to ensure that BORENSTEIN’s property remained safeguarded,
                                      15 during the time in which BORENSTEIN was hospitalized.
                                      16          282.   COO SCHOLTEN and TAF breached their legal responsibilities and/or contractual
                                      17 obligations by failing to exercise the degree of care that an ordinarily careful and reasonably prudent
                                      18 professional and shelter and government contractor, respectively, would exercise, under the same or
                                      19 similar circumstances, including by holding Mana for a period of time sufficient to enable
                                      20 BORENSTEIN to reclaim Mana, after BORENSTEIN was released from the hospital, and to have
                                      21 and/or heed communications with CCAC to ensure that BORENSTEIN’s property remained
                                      22 safeguarded, during the time in which BORENSTEIN was hospitalized.
                                      23          283.   Furthermore, COO SCHOLTEN and TAF, through its officers, managers, supervisors,
                                      24 agents, and/or employees, including COO SCHOLTEN, acted abusively by first knowingly depriving
                                      25 BORENSTEIN from the use of his service animal when allowing ROE BUSINESS ENTITIES 1-5
                                      26 and/or DOE INDIVIDUALS 1-5 to adopt Mana and then by inflicting pain, injury, or mental anguish
                                      27 on BORENSTEIN by refusing to correct or attempt to correct the unlawful, converted adoption; by
                                      28 telling BORENSTEIN that Mana would be euthanized before he would regain possession of Mana,


                                                                                        51
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 52 of 63




                                       1 because he was, in their non-medical opinion(s), “too sick” to own an animal; and by subsequently
                                       2 thwarting BORENSTEIN’s ability to adopt another animal from TAF, the Henderson Animal Shelter,
                                       3 and/or other entities that house animals for adoption, by placing a warning about BORENSTEIN in a
                                       4 database accessible to multiple agencies.
                                       5          284.   Protecting BORENSTEIN’s service dog was a service necessary to maintaining
                                       6 BORENSTEIN’s physical and/or mental health, as defined under the Vulnerable Persons Statute.
                                       7          285.   As a direct and proximate result of the Defendants’ breaches and/or abuses, as alleged in
                                       8 this cause of action, BORENSTEIN suffered personal injuries of neglect and/or abuse for which
                                       9 Defendants are liable for double his actual damages, as allowed by Nevada Revised Statute §
                                      10 41.1395(1).
                                      11          286.   As a further result of COO SCHOLTEN’s and TAF’s reckless, oppressive, or malicious
                                      12 conduct, as alleged in this cause of action, BORENSTEIN has had to retain the services of attorneys in
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                                      13 this matter, for which he seeks mandatory attorneys’ fees and costs, as allowed by Nevada Revised
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                                      14 Statute §41.1395(2).
                                      15                                                     XIX.
                                      16                                   FIFTEENTH CAUSE OF ACTION
                                      17                                           Unlawful Conversion

                                      18                             (Asserted against TAF and COO SCHOLTEN)

                                      19          287.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      20 fully set forth herein.
                                      21          288.   COO SCHOLTEN and TAF, through its officers, managers, supervisors, agents, and/or

                                      22 employees, including COO SCHOLTEN, intentionally exerted wrongful dominion over
                                      23 BORENSTEIN’s personal property, Mana, by making an unjustified claim of title to Mana for itself.
                                      24          289.   Thereafter, COO SCHOLTEN and TAF, through its officers, managers, supervisors,

                                      25 agents, and/or employees, including COO SCHOLTEN, adopted Mana to ROE BUSINESS ENTITIES
                                      26 1-5 and/or DOE INDIVIDUALS 1-5, without disclosing to them BORENSTEIN’s actual ownership
                                      27 interest in Mana, thereby interfering with BORENSTEIN’s rights of possession.
                                      28          290.   As a direct and proximate result of the Defendants’ intentional actions, as alleged in this


                                                                                        52
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 53 of 63




                                       1 cause of action, TAF and COO SCHOLTEN are civilly liable to BORENSTEIN for sustained injury,
                                       2 harm, suffering, mental anguish, and other compensatory damages, according to proof at trial.
                                       3          291.   When engaging in their culpable conduct described herein, TAF and/or COO
                                       4 SCHOLTEN, acted with malice, express or implied, in that they engaged in despicable conduct by
                                       5 virtue of the egregious nature of their conversion of Mana to TAF, and they had a conscious disregard
                                       6 of the rights or safety of BORENSTEIN.
                                       7          292.   Accordingly, BORENSTEIN is entitled to recover punitive and exemplary damages, as
                                       8 allowed by law, in an amount to be determined at trial.
                                       9          293.   As a further result of the culpable conduct by TAF and/or COO SCHOLTEN, as alleged
                                      10 in this cause of action, BORENSTEIN has had to retain the services of attorneys in this matter, for
                                      11 which he seeks costs and reasonable attorneys’ fees.
                                      12                                                      XX.
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                                      13                                    SIXTEENTH CAUSE OF ACTION
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                                      14                                Intentional Infliction of Emotional Distress

                                      15                 (Asserted against CCAC, TAF, LT. ZAVALA, and COO SCHOLTEN)

                                      16          294.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      17 fully set forth herein.
                                      18          295.   CCAC and TAF, through its respective officers, managers, supervisors, agents, and/or

                                      19 employees, including LT. ZAVALA and COO SCHOLTEN, engaged in extreme and outrageous
                                      20 conduct, through the following acts and omissions:
                                      21              A. Taking possession of Mana for boarding, knowing that BORENSTEIN was

                                      22          hospitalized, sedated, incapacitated, and disabled, and failing to place a hold sufficient to

                                      23          ensure that BORENSTEIN would be able to recover possession of Mana when

                                      24          BORENSTEIN was discharged from the hospital, especially when Mana was identified

                                      25          as a service animal before he was boarded;

                                      26              B. Sending a pretextual email to BORENSTEIN, less than a day after his

                                      27          hospitalization, with instructions for reclaiming Mana, knowing that BORENSTEIN was

                                      28          recently incapacitated, was unlikely to receive the email, and was most likely unable to


                                                                                         53
                                           Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 54 of 63




                                       1      act on it;
                                       2          C. Sending a second pretextual email to BORENSTEIN a day later, while he was
                                       3      still hospitalized, with an incorrect identification number for Mana, knowing that
                                       4      BORENSTEIN was unlikely to receive or act upon that email either;
                                       5          D. Placing information in the emails that Mana might be sent to adoption, to a rescue
                                       6      organization, or to be euthanized, if BORENSTEIN failed to contact TAF by May 22,
                                       7      2019;
                                       8          E. Providing a telephone number in the emails with a recorded message and an
                                       9      ability for the caller to leave a message, without regularly monitoring the messages
                                      10      and/or providing any appropriate follow-up, including when BORENSTEIN left time-
                                      11      sensitive messages regarding his request to hold Mana until he was out of the hospital
                                      12      and could reclaim Mana;
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                                      13
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                                                  F. Providing information in the emails about the KEPPT program but failing to
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                                      14      fulfill the stated promise of that program to help with barriers in finding a temporary
                                      15      placement for a sheltered animal as an alternative boarding arrangement;
                                      16          G. Failing to act to ensure that Mana was continuingly safeguarded upon receipt of
                                      17      BORENSTEIN’s telephone call to CCAC on May 24, 2019, wherein BORENSTEIN
                                      18      advised that he had been transported to a hospital in California and would need a
                                      19      reasonable accommodation to hold Mana longer;
                                      20          H. Deliberately ignoring and/or failing to act on an email from CCAC, through LT.
                                      21      ZAVALA, to TAF, through COO SCHOLTEN and/or another of TAF’s officers,
                                      22      managers, supervisors, agents, and/or employees, relaying BORENSTEIN’s request for
                                      23      accommodation;
                                      24          I. Purportedly calling several Las Vegas hospitals in a pretextual effort to document
                                      25      additional efforts at reaching BORENSTEIN, knowing BORENSTEIN was not in Las
                                      26      Vegas and did not have access to a telephone;
                                      27          J. Removing the hold placed on Mana less than a week after BORENSTEIN’s
                                      28      telephone call, resulting in the conversion of Mana to TAF, and then making Mana


                                                                                    54
                                           Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 55 of 63




                                       1      available for adoption the very next day, on May 31, 2019;
                                       2         K. Allowing ROE BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5 to
                                       3      adopt Mana on June 1, 2019, just thirteen minutes before BORENSTEIN left a message
                                       4      with CCAC advising that he would then soon be released from the hospital to reclaim
                                       5      Mana;
                                       6         L. Informing BORENSTEIN on June 2, 2019, that Mana had been adopted by a third
                                       7      party;
                                       8         M. Telling BORENSTEIN that TAF would euthanize Mana before allowing
                                       9      BORENSTEIN to have possession of him, because they had made a discriminatory
                                      10      medical assessment that BORENSTEIN was “too sick” to care for Mana;
                                      11         N. Failing to act to contact ROE BUSINESS ENTITIES 1-5 and/or DOE
                                      12      INDIVIDUALS 1-5 to reclaim Mana for return to BORENSTEIN or to otherwise advise
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                                              them of the illegal converted adoption, including, after receiving documentation of a
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                                      14      court proceeding containing a written finding that Mana was BORENSTEIN’s service
                                      15      dog and, upon knowing that BORENSTEIN had been hospitalized after telling LT.
                                      16      ZAVALA that he was going to kill himself;
                                      17         O. Failing to act to contact ROE BUSINESS ENTITIES 1-5 and/or DOE
                                      18      INDIVIDUALS 1-5 to reclaim Mana for return to BORENSTEIN or to otherwise advise
                                      19      them of the illegal converted adoption, including, after receiving communications from
                                      20      the president of the Humane Network, inquiring about Mana;
                                      21         P. Refusing to allow BORENSTEIN to adopt another animal from TAF, after he
                                      22      filed a federal lawsuit against CCAC and TAF;
                                      23         Q. Warning other animal shelters, including the Henderson Animal Shelter, animal
                                      24      law enforcement agencies, and/or rescue organizations not to adopt an animal to
                                      25      BORENSTEIN;
                                      26         R. Failing to respond to BORENSTEIN’s public records request for information
                                      27      about not permitting BORENSTEIN to adopt an animal; and
                                      28         S. Failing to ensure that BORENSTEIN was not subjected to additional ongoing


                                                                                   55
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 56 of 63




                                       1          discrimination.
                                       2          296.   CCAC and TAF, through its respective officers, managers, supervisors, agents, and/or
                                       3 employees, including LT. ZAVALA and COO SCHOLTEN, intended to cause emotional distress to
                                       4 BORENSTEIN or they had a reckless disregard for the risk their actions posed for causing emotional
                                       5 distress to BORENSTEIN.
                                       6          297.   BORENSTEIN suffered such extreme and severe emotional distress, which was caused
                                       7 by Defendants as alleged in this cause of action, including but not limited to:
                                       8             A. Emotional distress resulting in multiple hospitalizations due to the lack of stability
                                       9          that Mana provided for BORENSTEIN;
                                      10             B. Emotional distress from becoming the victim of violent crimes, following his
                                      11          possessory loss of Mana, who also provided protection to BORENSTEIN;
                                      12             C. Emotional distress from worrying whether Mana will still be able to perform the
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                                                  service tasks that Mana was trained to perform for BORENSTEIN;
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                                      14             D. Emotional distress from not knowing whether Mana is safe and whether Mana is
                                      15          receiving good care, including recurrent invasive thoughts that Mana may not be alive,
                                      16          which causes BORENSTEIN great anxiety;
                                      17             E. Emotional distress from worrying that Mana has developed bonds with ROE
                                      18          BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5 that will impact Mana’s
                                      19          bond to BORENSTEIN and Mana’s ability to act as BORENSTEIN’s service animal,
                                      20          after BORENSTEIN recovers possession of Mana;
                                      21             F. Emotional distress from needing the assistance of a service animal but being
                                      22          afraid that any replacement animal will jeopardize his ability to recover possession of
                                      23          Mana and to subsequently care for both animals;
                                      24             G. Emotional distress due to his apparent inability to adopt another shelter animal in
                                      25          Clark County, Nevada; and
                                      26             H. Emotional distress from worrying that he could lose possession of Mana and/or
                                      27          another service animal when he is hospitalized again and is forced to rely on government
                                      28          entities, such as CCAC, and its contractors, such as TAF.


                                                                                        56
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 57 of 63




                                       1          298.   As a direct and proximate result of the intentional, malicious, willful, deliberately
                                       2 indifferent, oppressive, and reckless conduct of Defendants, and each of them, named in this cause of
                                       3 action, BORENSTEIN sustained injury, harm, suffering, mental anguish, and damages, entitling
                                       4 BORENSTEIN to compensatory and punitive damages, as allowed by law, according to proof at trial.
                                       5          299.   As a further, direct and proximate result of the intentional, malicious, willful,
                                       6 deliberately indifferent, oppressive, and reckless conduct of Defendants, and each of them, for this
                                       7 cause of action, BORENSTEIN has had to retain the services of attorneys in this matter, for which he
                                       8 seeks costs and reasonable attorneys’ fees.
                                       9                                                     XXI.
                                      10                               RESPONDEAT SUPERIOR LIABILITY2
                                                                              For the State Claims
                                      11
                                      12                    --VICARIOUS LIABILITY FOR CONDUCT OF EMPLOYEES
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                                                          OCCURRING IN THE COURSE AND SCOPE OF EMPLOYMENT -
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                                      14                       (Asserted against SUNRISE HOSPITAL, CCAC, and TAF)

                                      15          300.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though

                                      16 fully set forth herein.
                                      17          301.   At all times relevant hereto, the acts and omissions of the respective officers, managers,

                                      18 supervisors, agents, and/or employees of SUNRISE HOSPITAL, CCAC, and TAF, including NURSE
                                      19 PASTERNAK, LT. ZAVALA, and COO SCHOLTEN, respectively, and each of them, were under the
                                      20 control of SUNRISE HOSPITAL, CCAC, and TAF, accordingly, and their acts and omissions
                                      21 complained of herein occurred within the scopes of their employment.
                                      22          302.   Based on the foregoing, BORENSTEIN is entitled to invoke the doctrine of Respondeat

                                      23 Superior to impose vicarious liability on SUNRISE HOSPITAL, CCAC, and TAF as the employers of
                                      24
                                      25          2
                                                         Respondeat Superior is not considered to be a “cause of action” but a method of
                                      26 assigning liability to an employer for the conduct of its employees. Accordingly, this section for
                                      27 Respondeat Superior is not labeled as a cause of action, but it seeks to assign liability to SUNRISE
                                      28 HOSPITAL, CCAC, and TAF, vicariously, for the acts of its employees.


                                                                                        57
                                             Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 58 of 63




                                       1 NURSE PASTERNAK, LT. ZAVALA, and COO SCHOLTEN, respectively, for their culpable
                                       2 conduct that occurred within the course and scope of their employment, as alleged herein.
                                       3                                                     XXII.
                                       4                              CLAIM AND DELIVERY AND REPLEVIN 3

                                       5        (Asserted against TAF, ROE BUSINESS ENTITIES 1-5; and DOE INDIVIDUALS 1-5)
                                       6          303.   BORENSTEIN incorporates by reference all prior allegations of this FAC, as though
                                       7 fully set forth herein.
                                       8          304.   TAF, through its officers, managers, supervisors, agents, and/or employees, including
                                       9 COO SCHOLTEN, intentionally exerted wrongful dominion over BORENSTEIN’s personal property,
                                      10 Mana, by making an unjustified claim of title to Mana for itself.
                                      11          305.   BORENSTEIN was denied the benefits of ownership of Mana from the moment TAF
                                      12 purported to be Mana’s owner and converted Mana’s ownership to itself.
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                                                  306.   Thereafter, TAF, through its officers, managers, supervisors, agents, and/or employees,
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                                      14 including COO SCHOLTEN, adopted Mana to ROE BUSINESS ENTITIES 1-5 and/or DOE
                                      15 INDIVIDUALS 1-5, without disclosing BORENSTEIN’s actual ownership interest in Mana, thereby
                                      16 interfering with BORENSTEIN’s rights of possession.
                                      17          307.   TAF, ROE BUSINESS ENTITIES 1-5, and/or DOE INDIVIDUALS 1-5, have enjoyed
                                      18 the benefit of ownership of Mana during the period BORENSTEIN has been denied ownership.
                                      19          308.   Mana has not been returned to BORENSTEIN.
                                      20          309.   BORENSTEIN seeks to recover possession of Mana from the businesses or individuals
                                      21 in possession of Mana, including ROE BUSINESS ENTITIES 1-5 and/or DOE INDIVIDUALS 1-5,
                                      22 pursuant to Nev. Rev. Stat. § 31.840 and/or § 17.120.
                                      23          310.   BORENSTEIN further seeks damages from TAF for the wrongful detention of Mana,
                                      24
                                      25          3
                                                         Claim and Delivery and Replevin are not considered to be “causes of action” but rather
                                      26 are Nevada State forms of relief, which are also available under Federal Rule of Civil Procedure 64 at
                                         the commencement of and throughout this litigation. Accordingly, this section for Claim and Delivery
                                      27
                                         and Replevin are not labeled as causes of action but seek to ensure that the procedures requisite to
                                      28 obtaining relief are set forth in detail.


                                                                                        58
                                            Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 59 of 63




                                       1 during the time period beginning June 2, 2019, when BORENSTEIN sought Mana’s return, through
                                       2 such time when Mana is returned to him.
                                       3         311.   As a result of the culpable conduct by TAF, as alleged in this cause of action,
                                       4 BORENSTEIN has had to retain the services of attorneys in this matter, for which he seeks costs and
                                       5 reasonable attorneys’ fees.
                                       6                                                      XVI.

                                       7                                           PRAYER FOR RELIEF

                                       8         WHEREFORE, BORENSTEIN prays for judgment against Defendants, as follows:

                                       9         1.     For the issuance of an Order to show cause, pursuant to Nev. Rev. Stat. 31.853 and/or

                                      10                Fed. R. Civ. P. 64, why Mana should not be taken from ROE BUSINESS ENTITIES 1-5

                                      11                and/or DOE INDIVIDUALS 1-5 and delivered to BORENSTEIN. See Exhibit 1 –

                                      12                Declaration of Brian Borenstein, pursuant to Nev. Rev. Stat. § 31.850 and § 53.045.
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                                      13         2.     For general damages in an amount in excess of $10,000.00;
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                                      14         3.     For special damages in an amount in excess of $10,000.00;

                                      15         4.     For past and future compensatory damages, and other expenses, including any retraining

                                      16                of Mana, incurred by reason of intentional misconduct, acts, omissions, carelessness,

                                      17                recklessness, negligence, gross negligence, deliberate indifference, and/or other culpable

                                      18                conduct, described herein, in an amount in excess of $10,000.00;

                                      19         5.     For punitive and exemplary damages;

                                      20         6.     For attorneys’ fees, costs, and pre- and post-judgment interest;

                                      21         7.     For experts’ fees, costs as allowed by law, in an amount in an amount to be determined

                                      22                at trial;

                                      23         8.     For declaratory relief, in the form of declarations that:

                                      24                A.          BORENSTEIN is the legal owner of Mana.

                                      25                B.          Defendants or any of them, jointly or individually, were negligent, grossly

                                      26                negligent, reckless, willful, malicious, and/or deliberately indifferent, causing injury to

                                      27                BORENSTEIN, and, further, that Defendants or any of them, jointly or individually,

                                      28                acted with actual intent or in reckless disregard of causing injury to BORENSTEIN;


                                                                                         59
                                           Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 60 of 63




                                       1            9.     For injunctive relief, as follows:
                                       2            A.     Mandating the return of Mana to BORENSTEIN;
                                       3            B.     Prohibiting CCAC, TAF, and their respective officers, managers, supervisors,
                                       4            agents, and/or employees, including LT. ZAVALA and COO SCHOLTEN, and each of
                                       5            them, from arbitrarily and capriciously enforcing Clark County Title 10 Animal
                                       6            Ordinance, the ADA, and the State Discrimination and Vulnerable Persons Statutes;
                                       7            C.     Prohibiting CCAC and TAF, by and through its officers, directors, managers,
                                       8            supervisors, agents, and/or employees, including LT. ZAVALA and COO SCHOLTEN,
                                       9            and each of them, from discriminatorily enforcing Clark County Title 10 Animal
                                      10            Ordinance, the ADA, and the State Discrimination and Vulnerable Persons Statutes,
                                      11            including by requiring them to make a genuine effort to locate and provide notification
                                      12            to all animals’ owners about their sheltered animals’ whereabouts and the follow-up
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                                                    actions required from all owners; by placing adequate holds on sheltered animals,
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                                      14            including extended holds when the animals’ owners are identifiable and known
                                      15            circumstances make it difficult for the owners to claim their animals in the prescribed
                                      16            time periods; by communicating with all animals’ owners who are known or
                                      17            discoverable to them and communicating between each other to ensure that animals are
                                      18            not prematurely and permanently separated from their owners who desire to maintain
                                      19            possession of their animals; by placing certain animals whose owners are known or
                                      20            identifiable in the KEPPT program or exploring alternative options for the animals
                                      21            instead of prematurely adopting them out; by correcting and unwinding improper
                                      22            adoptions upon learning of them; and by not retaliating or preventing people from
                                      23            adopting other animals from TAF;
                                      24            D.     Prohibiting action whereby an animal is taken from a hospitalized individual for
                                      25            subsequent adoption to a third party without a meaningful pre-deprivation remedy
                                      26            before the adoption occurs and notification of any post-deprivation remedies available to
                                      27            such person;
                                      28            E.     Prohibiting the unreasonable seizure of an animal through the lawful possession


                                                                                   60
                                               Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 61 of 63




                                       1                of the animal for safekeeping while the animal’s owner is hospitalized and then by
                                       2                unlawfully converting that temporary, authorized deprivation of the animal owner’s
                                       3                possessory interest into a permanent, unlawful ownership interest;
                                       4                F.     Prohibiting the unlawful taking of an animal for public use, including for the
                                       5                purpose of adoptions, without just compensation to the animal’s owner;
                                       6                G.     Mandating the removal of all adverse information and records reflecting, arising
                                       7                from, and relating to BORENSTEIN’s ability to adopt an animal from TAF and/or from
                                       8                another shelter and/or rescue organization;
                                       9                H.     Mandating SUNRISE HOSPITAL and its respective officers, managers,
                                      10                supervisors, agents, and/or employees, including NURSE PASTERNAK, exercise a
                                      11                reasonable duty of care when placing a disabled individual’s service animal for boarding
                                      12                and by engaging in follow-up communications with the boarding facility to ensure that
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                                                        such property is adequately safeguarded during the time in which such individual is
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                                      14                hospitalized as an extension of the patient care and oversight of valuable property;
                                      15                I.     Mandating TAF and its respective officers, managers, supervisors, agents, and/or
                                      16                employees, including COO SCHOLTEN, engage in the interactive process when a
                                      17                reasonable accommodation is requested by a disabled person, and if an adoption is
                                      18                completed in violation of the ADA, to notify an adoptive party of the error and take
                                      19                reasonable efforts to reclaim the animal;
                                      20                J.     Mandating SUNRISE HOSPITAL, CCAC, and TAF properly train and supervise
                                      21                its respective officers, managers, supervisors, agents, and/or employees, including
                                      22                NURSE PASTERNAK, LT. ZAVALA, and COO SCHOLTEN, regarding the rights
                                      23                and obligations of individuals under the United States Constitution, the ADA, the
                                      24                Vulnerable Persons Statute, and State Discrimination Statutes;
                                      25          10.   For such other relief as the Court may deem just and proper; and
                                      26 ///
                                      27 ///
                                      28 ///


                                                                                       61
                                            Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 62 of 63




                                       1         11.    Pursuant to the Federal Rules of Civil Procedure, Rule 38, Plaintiff demands a trial by
                                       2                jury on all issues triable by right of a jury.
                                       3
                                       4 Dated this 6th day of May 2020.                                 THE PALMER LAW FIRM, P.C.
                                       5
                                       6
                                                                                                         ______________________________
                                       7                                                                 RAELENE K. PALMER, Esq.
                                                                                                         Nevada Bar No. 8602
                                       8                                                                 5550 Painted Mirage Road, Suite 320
                                                                                                         Las Vegas, Nevada 89149
                                       9
                                                                                                         (702) 952-9533
                                      10                                                                 Attorney for Plaintiff Brian Borenstein

                                      11
                                      12 Dated this 6th day of May 2020.                                 s/ Robert S. Melcic
5550 Painted Mirage Road, Suite 320




                                                                                                         ROBERT S. MELCIC, Esq.
                                      13
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                                                                                                         Nevada Bar No. 8602
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                                                                                                         4930 Mar Vista Way
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                                                                                                         Attorney for Plaintiff Brian Borenstein
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                                           Case 2:19-cv-00985-CDS-NJK Document 41 Filed 05/06/20 Page 63 of 63




                                       1                EXHIBIT TO PLAINTIFF’S FIRST AMENDED COMPLAINT
                                       2   EXH                                                             NO. OF
                                           NO.                               EXHIBIT                       PAGES
                                       3
                                       4    1    Declaration of Brian Borenstein                                 3
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